Fi|i in this information to identify your case:

 

United States Bankruptcy Court for the:
District of /< MM 5 A.$

Case number (/fknown): Chapt u are filing under:
D’t§:;::7

n Chapter 11

El chapter 12

\;l Chapiema E| Check if this is an

amended filing

 

Official Form 101
Voluntary Petition for individuals Filing for Bankruptcy

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For examp|e, if a form asks, "Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separate|y, the form uses Debtor 1 and
Debtor 2 to distinguish between them. in joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The

12/15

 

same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possib|e. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number

(if known). Answer every question.

m identify Yourself

1. Your full name

About Debtor 1:

71 went

Write the name that is on your
government-issued picture

About Debtor 2 (Spouse Only in a Joint Case):

 

 

identification to your meeting
with the trustee.

Sufhx (Sr., Jr., iil lll)

identification (for example, First ama First name
your driver’s license or -
passport). Middle name Middle name
Bring your picture M 44 ,£C_ 5

Last name Last name

suan (Sr., Jr., :l_ m)

 

 

2. Aii other names you
have used in the last 8

7’%¢£@:,4~

 

 

 

 

 

 

First name First name
; years .
include your married or Middle na:)nf Middle name
maiden names. /-/"’ .
./. 0 . l
Last name Last name
l |
First name First name `
Middle name Middle name
Last name Last name
3. Only the last 4 digits of 5’ 5 5
- - xxx - Xx - xxx - XX -
your Soclal Securlty _ _ _ _ _ __ _
number or federal oR OR
individual Taxpayer 9
identification number 9XX _ XX __ __ __ _ _ XX - xx - _ _ _
(lTlN)

Officiai Form 101 _
Case 18-11330 Doc# 1 Fl|ed O

Voluntary Petition for individuals Fiiin for Bankruptcy
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page 1

77;@£256

First anlm

Debtor 1

4. Any business names
and Empioyer
identification Numbers
(EiN) you have used in
the last 8 years

include trade names and
doing business as names

Midle Name

M fi£cs

lost Nmne

About Debtor 1:

Mt used any business names or EiNs.

Case number (irknown)

About Debtor 2 (Spouse Only in a Joint Case):

n l have not used any business names or EiNs.

 

Business name

Business name

 

Business name

H_F

El_r\i_

Business name

H_

 

 

5. Where you live

/(o§o’{ 5 £///;Y J`Ji'.

if Debtor 2 lives at a different address:

 

 

 

 

 

Number Street Number Street
étwirri\.f@~ ,{_/.S 676/f
State ZlP Code City State ZlP Code
J_CP qr ed c c b
County County

if your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

if Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

6. Why you are choosing
this district to file for
bankruptcy

Official Form 101

Number Street Number Street

P.O. Box P.O. Box

City State ZlP Code City State ZlP Code
Check one.'

:,.'ey{
Over the last 180 days before filing this petition,

l have lived in this district longer than in any
other district

n l have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

Voluntary Petition for individuals Fiiing for Bankruptcy

El Over the last 180 days before filing this petition,
l have lived in this district longer than in any
other district.

i;l i have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

page 2

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Debtor1 77€;&2 is A' k - M AAE J- Case number (rknown)

l-'iml Nnma Middle iiint Lusi N:rme

l

\
m Te|l the Court About Your Bankruptcy Case

7. The chapter of the Check one. (For a brief description of each, see Notice Requi'red by 11 U.S.C. § 342(b) for /ndividua/s Filing

Bankruptcy Code you ;r/Ban#ww (Form 2010)). A|so, go to the top of page 1 and check the appropriate box.
are choosing to file
under hapter 7

i:l Chapter 11
El Chapter 12
i:l Chapter 13

e. How you will pay the fee |:l l will pay the entire fee when | file my petition. Please check with the clerk’s office in your
local court for more details about how you may pay. Typica|iy, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. if your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

m|/need to pay the fee in installments. if you choose this option, sign and attach the
App/icat/'on for Ind/'vidua/s to Pay The Filing Fee in Insta//ments (Officlai Form 103A).

i;l l request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). if you choose this option, you must fill out the App/icat/'on to Have the
Chapter 7 Filing Fee Waived (thcial Form 1035) and file it with your petition.

9. Have you filed for qu/'

bankruptcy within the
last 8 yeaI'S? n Yes~ DiSi"in When Case number
MM/ DD/YYYV

Distn`ct When Case number
MM / DD / YYYY

District When Case number
MN| / DD / YYYY

10. Are any bankruptcy E'No//

cases pending or being

 

 

 

filed by a spouse Who is n Yes. Debtor Re|ationship to you
"°t f"'"g th'S ca_$e W'th Disin'ci When case number, if known
you, or by a business MM / DD /YYYY
partner, or by an
affiliate?
Debtor Relationship to you
Distn'ct When Case number, if known

 

MM / DD / YYYY

11. Do you rent your Mcoto line 12.

res'den°e? ij Yes. Has your landlord obtained an eviction judgment against you and do you Want to stay in your
residence?
Ci No. co to iine 12.

m Yes. Fill out /ni'tia/ StatementAbout an Evicti'on Judgment Agai'nst You (Form 101A) and file it with
this bankruptcy petition.

Official Form 101 Voluntary Petition for individuals Fiiin for Bankruptcy page 3
Case 18-11330 Doc# 1 Filed 0 /10/18 Page 3 of 61

Debtor1 nip-flag n/ !C/' /VI/ n {Cq'$ case number drawn

 

First Name Miudti'a Name Li.i=it Name

m Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor mpa-t 4_

of any fuii- or part-time
business? l:l Yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as

a corporation, partnership, or
LLC_ Number Street

 

Name of business, if any

 

if you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

 

 

City State ZlP Code

Check the appropriate box to describe your business:

l:l Heaith Care Business (as defined in 11 U.S.C. § 101(27A))
n Singie Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
El stockbroker (as denned in 11 u.s.c. § 101(53A))

El Commodity Broker (as defined in 11 U.S.C. § 101(6))

n None of the above

13. Are you filing under If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines if you indicate that you are a small business debtor, you must attach your

Bankruptcy Code and , .
are you a small business Vdocuments do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

debtor?

For a definition of small

business deber- 896 D No. l am filing under chapter 11, but l am NOT a small business debtor according to the definition in
11 U-S-C~ § 101(51D)~ the Bankruptcy Code.

No. l am not filing under Chapter 11.

n Yes. l am filing under Chapter 11 and | am a small business debtor according to the definition in the
Bankruptcy Code.

m Report if You Own or Have Any Hazardous Property or Any Property That Needs immediate Attention

most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if

 

14. Do you own or have any B(

property that poses or is

 

alleged to pose a threat n Yes. What is the hazard?

of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any

property that needs if immediate attention is needed, Why is it needed?

 

immediate attention?
For example, do you own

 

perishable goods, or livestock
that must be fed, ora building
that needs urgent repairs?

Where is the propelty?

 

Number Street

 

 

City State ZlP Code
Official Form 101 Case 161?|1“1‘§§'0':€“"[33&€lridivi(li:uiiede iBrW/flotrj?fnkmpl:t’ce’tge 4 of 61 page 4

Debtor 1

First Name

M/£e s"~`~»

Miiddl\t'l N,'lnio

16 , Nf/t¢w

LFrEl'Narr.-n

Case number urineer

 

E:xplain Your Efforts to Receive a Briefing About Credit Counseling

15. Teii the court whether
you have received a
briefing about credit
counseHng.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. ¥ou must
truthfully check one of the
following choices. if you
cannot do so, you are not
eligible to flie.

if you file anyway, the court
can dismiss your casel you
will lose whatever nling fee
you paidl and your creditors
can begin collection activities
again.

Official Form 101

AboutDebtor1:

  

i received a briefing from an approved credit
counseling agency within the 180 days before i
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency,

n i received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, but i do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

[:l i certify that l asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefingl why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you nled for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you f`lle.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any, if you do not do so, your case
may be dismissed

Any extension of the 130-day deadline is granted
only for cause and is limited to a maximum of 15
days.

n | am not required to receive a briefing about

credit counseling because of:

n |ncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

n Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after l

reasonably tried to do so.

m Active duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briehng about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for lndividu_ais Fiiin for Bankruptc
case 13-11330 Doc# 1 l=lled 0"}/ /

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

n i received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
planl if any, that you developed with the agency.

n l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
planl if any.

n i certify that i asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you Hied for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certincate from the approved
agency, along with a copy of the payment plan you
developed, if any. lf you do not do so, your case
may be dismissed

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

n l am not required to receive a briefing about
credit counseling because of:

m lncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances

ij Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after l

reasonably tried to do so.

n Active duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

3 Page 5 0161 page$

Debtor 1
Firlit Name

__%AU/v

biddle Iililmu

k //77££(5‘

tmt Name

Case number (irknowri)

m Answer These Questions for Reporting Purposes

16. What kind of debts do
you have?

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is
excluded and
administrative expenses
are paid that funds will be
available for distribution
to unsecured creditors?

1s. How many creditors do
you estimate that you
owe?

19. How much do you
estimate your assets to
be worth?

20. How much do you
estimate your liabilities
to be?

Sign Below

16a. Are your debts primarily consumer debts? Consumer debts are denned in 11 U.S.C. § 101 (8)
as “incurred by an individual primarily for a personal, family, or household purpose."

l No. colo line 16b.
El Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

m No. Go to line 16c.
El Yes. Go to line 17.

160. State the type of debts you owe that are not consumer debts or business debts.
medical and credit cards

 

n No. | am not filing under Chapter 7. Go to line 18.

m Yes. l am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

m No
n Yes
Ei 1-49 El 1,000-5.000 El 25,001-50,000
El 50-99 El 5,001-10,000 Ei 50,001-100,000
Ei 100-199 ill 10,001-25,000 E| ivlorethan100,000
El 200-999
m $0-$50,000 lIl $1,000,001-$10 million El $500,000,001-$1 billion

El $50,001-$100.000
El $100,001-$500,000
El $500,001-$1 million

m $0-$50,000

El $50,001-$100,000
El $100,001-$500,000
Ei $500,001-$1 million

El $10,000,001-$50 million
El $50,000,001-$100 million
El $100,000,001-$500 million

El $1,000,001-$10 million

El $10,000,001-$50 million
El $50,000,001-$100 million
El $100,000,001-$500 million

ill $1,000,000,001-$10 billion
Ei $10,000,000,001-$50 billion
El More than $50 billion

Cl $500,000,001-$1 billion

ill $1,000,000,001-$10 billion
El $10,000,000,001-$50 billion
U More than $50 billion

 

For you

Official Form 101

l have examined this petition, and i declare under penalty of perjury that the information provided is true and

correct.

lf| have chosen to file under Chapter 7, l am aware that l may proceed, if eiigibie, under Chapter 7, 11,12, or 13
of title 11, United States Code. l understand the relief available under each chapter, and i choose to proceed

under Chapter 7.

if no attorney represents me and l did not pay or agree to pay someone who is not an attorney to help me till out
this document, i have obtained and read the notice required by 11 U.S.C. § 342(b).

i request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

l understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

X._[),l/i intro/if /l/io\/\»o X

Signature of Debtor 1

Executed on 657 / 0 /20/ 5/

 

Signature of Debtor 2

Executed on

MM /DD /YYYY MM/ DD /YYYY

Voluntary Petition for individuals Fiiing for Bankruptcy page 6

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Debtor1 77i€. /Q-E- §§ [:\i_" k, , {Y-i A/{&“Q,~S Case number rirlmrlwrll ___

 

First Name Middle Nr.u‘iio Lrii=l Name
For you if you are filing this The law allows you, as an individuai, to represent yourself in bankruptcy court, but you
bankruptcy Without an should understand that many people find it extremely difficult to represent
attorney themselves successfuiiy. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.

if you are represented by
an attorney, you do not To be successfull you must correctly file and handle your bankruptcy case. The rules are very

need to file this page_ technicai, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. if that happensl you could lose your right to file another
case, or you may lose protections, including the benth of the automatic stay.

You must list ali your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. if you do not list a debt, the debt may not be discharged. if you do not list
property or properly claim it as exempt, you may not be able to keep the propeity. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or iying. individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthfui, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

if you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federai Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that appiy.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

EiNo
DA¢eS/

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

\;lNo

eS

Did yo pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
No

Ei Yes. Name of Person .
Attach Bankruptcy Petition Preparer’s Notl'ce, Declaration, and Signature (Official Form 119)l

By signing here, l acknowledge that l understand the risks involved in filing Without an attorney. l
have read and understood this notice, and l am aware that Hllng a bankruptcy case Without an
attorney may cause me to lose my rights or property if l do not properly handle the case.

X MMALOML X _

Signature of Debtor 1 Signature of Debtor 2

 

 

MM/ D /YYYY MM/ DD /YYYY
Contact phone _j‘i (.C"\.'~?/L"/' \* \;.:;)Lp Contact phone

Ceil phone »-%| LD\.-‘?i aj 131 ghi-occ Ceil phone
Emeli address ic<.'l_!/]_Q>L"("'h)(` zi,l(il§ €;') l/lfi`{?£_"(_“) Emeil address

Official Form 101 Volunta§' Petition for individuals Fiiin for Bankru page 8

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case 18-113 0 Doc# 1 l=lled 0 /10 3 °P°r§tge 7 0161

UNITED STATES BANKRUPTCY COURT

Inre T£{-Li.f."”- L,- M./!L".\'LL"S CaseNo.

Debtor
Chapter 7

CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
UNDER § 342(b) OF TlIE BANKRUPTCY CODE

Certification of [Non-Attomey] Bankruptcy Petition Preparer
I, the [non-attomey] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the
attached notice, as required by § 342(b) of the Bankruptcy Code.

 

 

Printed name and title, if any, of Bankruptcy Petition Preparer Social Security number (If the bankruptcy petition
Address: preparer is not an individual, state the Soclal Security
number of the otlicer, principai, responsible person, or
partner of the bankruptcy petition prcparer.) (Requircd
X by ll U.S.C. § 110.)

Signature ofBankruptoy Pctition Prepm or officer,
principa], responsible person, or partner whose Social
Security number is provided above.

 

 

Certitication of the Debtor
I (We), the dcbtor(s), adirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
iii riot so fights/3m xn])lln intrinsic iiiili/t£> 07//0 /l?§
rooted Nme(s) ofoebtor(s) stands iii mirror “ oate’ f
Case No. (ifknown) X

 

Signature of Joint Debtor (if any) Date

 

Instrucdons: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by ll U.S.C. § 342(b) only if the certification has
NOT been made on the Voluntary Petition, Official Form Bl. Exhi`bit B on page 2 of Form Bl contains a certification by the
debtor's attorney that the attorney has given the notice to thc debtor. The Declaraiions made by debtors and bankruptcy
petition preparers on page 3 of Form Bl also include this certitication.

Case 18-11330 Doc# 1 Filed 07/10/18 Page 8 of 61

Fill in this information to identify your case:

Debtor1 __/_thé'€jk. /< ' //)?"} l(Z-l’»-\

Flrst Nnrno Middle Name |.z\s| Nnrlm

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: DiS'triCt Of ha N § HJ

Case number

(lfknown) El Check if this is an
amended filing

 

 

 

Official Form 107
Statement of Financial Affairs for lndividuals Filing for Bankruptcy 04/16

 

Be as complete and accurate as possible. lf two married people are H|ing together, both are equally responsible for supplying correct
information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

M Give Details About Your Marital Status and Where You Lived Before

 

1. What is your current marital status?

n .
ila Ncll married

2. During the last 3 years, have you lived anywhere other than where you live now?

El/No

l;l Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1: Dates Debtor 1 Debtor 2: Dates Debtor 2
lived there lived there
m Same as Debtor 1 n Same as Debtor 1
From From
Number Street Number Street
To To
City State ZlP Code City State ZlP Code
n Same as Debtor 1 n Same as Debtor1
From From
Number Street Number Street
To To
City State ZlP Code City State ZlP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
.;atexsyuerr/tories include Arizonal Ca|ifornial |daho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
No

El Ves. Make sure you fill out Schedule H.' Your Codebtors (Of'f`lcial Form 106H).

W Explain the Sources of Your lncome

Of'ficial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 1

Case 18-11330 Doc# 1 Filed 07/10/18 Page 9 of 61

Debtor 1 We !<' k . wa /CL \r Case number (ir)mown)

 

Flr'.\t Name Mirlrlln Name L.Lis\ blame

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
lf you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

es. Fill in the detai|s.

-::-j;._ii'__,*.l'}'LE“{_r_'__ -.'_ _.__ _. '.
'.qhm.f...‘li‘i"_l‘ i'_ "-:_'l,"\,_. '_.,.;_‘¢'.' '_' l '

 

Sources of lncome Gross income Sources of lncome Gross income

Check all that apply. (before deductions and Check all that apply. (before ded

D/ exclusions) exclusions)
From January 1 of current year until ages. commissionsl cl Wages, commissions,

uctions and

i . 2 '/
the date you med for bankruptcy: bonuses tips $-LDj-QJ_\L bonuses tips $__

n Operating a business n Operating a business
_ momm|ssions, § n Wages, commissions
F | .
or ast calendar year bonuses, tips 5 37 l \?' 00 bonusesl tips $
(January 1 to December 311 M) n Operating a business j m Operating a business

bonuses, tips bonuses, tips

For the calendar year before that: ms Commlsslons. 35 0 q § 00 n ngss. commissions

$
(January1 to December 311$!.>9;) n Operating a business $H_ n Operating a business ___

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxabie. Exampies of other income are alimony; child support; Soclal Security,

unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. if you are filing a joint case and you have income that you received together, list it only once under Debtor 1 .

gypr and the gross income from each source separateiy. Do not include income that you listed in line 4.
No

El Yes. Fiii in the detaiis.

 

 

 

 

 

 

 

slim-irl ~ "'_ _ - _ '_l -_
Sources of income Gross income from Sources of income Gross income from
Describe beiow. each 5°\"°9 Describe below. each S°u"°e
(before deductions and (before deductions and
exclusions) exclusions)
From January1 of current year until __ $__ __ $
the date you Filed for bankruptcy:
$_
For last calendar year:
(January 1 to December 31, )
YYYY
For the calendar year before that: $ $
(January1 to December 31, )
YYYY
_ $
Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 2

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Debtor1 _7%:/€/*2£5 “' /€ ' /77&/6€ J case number mims

First Nn'mo Middle Nnme Lasl flaum

m List Certain Payments You Made Before You Filed for Bankruptcy

 

  

No. Go lo line 7. l '

\

i:l Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as

child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment

i;l Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

i;l No. Go to line 7.

El Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Dates of Total amount paid Amount you still owe
payment
$ $
Credilor's Name
Number Street
City State ZlP Code
$ $
Credilor's Name
Number Street
City State ZlP Code
$ ‘B
Creditor's Name
Number Street
City Slale ZlP Code
Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy

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Was this payment for...

m Mortgage

n Car

n Credit card

n Loan repayment

a Suppliers or vendors
n Other

m Mortgage

m Car

m Credit card

ij Loan repayment

n Suppliers or vendors
n Other

n Mor‘tgage

i;l Car

i:l Credit card

n Loan repayment

a Supp|iers or vendors
m Other

page 3

Debtor 1 TLi *21 p`~R-‘S ('l\* \L ‘ m ixng Case number primarily

First Name norma Name Losl Nan-.n \

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders inciu ’your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;

 

El Yes. List all payments to an insider.

 

 

 

 

 

Dates of Total amount Amount you still Reason for this payment
payment paid owe
$ $
insiders Name
Number Street
i
' |
, City State Z|P Code l
i
$ $

 

|nsider‘s Name

 

Number Street

 

 

City State ZlP Code

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited

 

i;l Yes. List all payments that benefited an insider.

Dates of Total amount Amount you still Reason for this payment

payment paid owe include creditor‘s name

 

insiders Name

 

Number Street

 

 

City State ZlP Code

 

|nsider's Name

 

Number Street

 

 

Ciiy State ZlP Code

Official Form 107 Statement of Financial Affairs for _lndivi ua Fiii:r|\_§for Bankruptc page 4

d l
Case 18-11330 Doc# 1 Filed 07/$10/ Page 1§ of 61

 

Debtor 1 F“sjé eJZ/'a l {\.r z / }?a lam Case number ririini»i-ni

Middto Name Last Name f

m identify Legal Actions, Repossessions, and Foreclosures

 

9. Within 1 year bet re you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?

 

iI| Yes. i=iii in the detailsl

 

 

 

 

 

 

 

 

Nature of the case Court or agency Status of the case
Case title ' com mm n Pending
n On appeal
Number Street n Conc|uded
Case number
| City State ZlP Code
Case title l _Courmama n Pending
l n On appeal
i
;Nurnbar Slrnnl n Conc|uded
Case number
:cily slate ziP Code

10. Within 1 year e you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check a at apply and fill in the details beiow.

 
  
 

No. Go to line 11.
n Yes. Fill in the information beiow.

Describe the property Date Va|ue of the propert
y

 

Creditcr's Name

 

Number Street Explain what happened

n Properiy was repossessed.
l:l Property was foreclosed.

 

i:l Property was garnished.
city stare ziP code i:l Property was attached, seizedl or ievied.

 

Describe the property Date Va|ue of the property

 

 

 

 

 

$
Creditor's Name
Number Street
Explain what happened
n Property was repossessed.
Ei Property was foreclosed.
City State ZlP Code Cl Property was garnished.
Ei Property was attached, seized, or ievied.
Official Form 107 Statement of Financial Affairs for individuals Fiiing for Bankruptcy page 5

Case 18-11330 Doc# 1 Filed 07/10/18 Page 13 of 61

 

Debtor1 `% L€- 5 W k ' '/}//a /€U Case number ilrr¢newiil

First Name Middle Name Ln:ll Nmrlo

 

Ei Yes. Fill in the details

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
Creditofs Name
$
Number Street
City Siafs ZlP Code Last 4 digits of account number: XXXX-

   
  

12. Within 1 yea efore you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
a court-appointed receiver, a custodian, or another official?

m List Certain Gifts and Contrihut:ions

 

    
 

13.Witi1in ears before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

No
Ei Yes. Fill in the details for each gifi.

 

 

 

 

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Vaiue
per person the gifts
$
Person to Whom You Gave the Gift
$
Number Street
City State ZlP Code
Person's relationship to you
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
$
Person to Whom You Gave the Gifl
$

 

 

mmber Street

 

City Slale ZlP Code

Person's relationship to you

Casesr§."rt§sr"aisii'e irsfirii‘siril“riiiiisf°'register Oi 61

Debtor 1 g @le ,(6\/ /C ' //?7&[ iad Case number (lrxmn;

F'irslNume *' " Middiul\imrln' LaslName

./"

14.Within 2 rs before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
No

i:l Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed

 

Chariiys Name

 

 

Number Street

 

 

City State ZlP Code
List Certaln Losses
f
15. Within 1 ar before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other

   
    

disast , or gambling?

No
El Yes. Fill in the details

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property

how the loss occurred _ _ _ loss lost
include the amount that insurance has pald. List pending insurance

claims on line 33 of Schedu/e A/B: Property.

m List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
'about seeking bankruptcy or preparing a bankruptcy petition?

 

El Yes. Fill in the details

 

 

 

 

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was

Person Who Was Paid made

Number Street $
$

City Siaie ZlP Code

Emai| or websiie address

Person Who Made the Payment, if Not You

Official Form 107 Statement of

Case - 335‘"3"5‘3'@Yai'sf°l£ii`é"ci"o“?'/i't:)‘ii%f°'iié‘t‘§§"t§ of 61 page’

Debtor 1 _4{ L"L L"EJ?.-hc`-‘ K. ' //)/i cL/LQ»§ Case number lirrnnwd]

r-lieram-; huddluNamu \ LaslName ' V

 

 

Description and value of any property transferred Date payment or Amount of
transfer was made payment

 

Person Who Was Paid

 

Number Street

 

 

City Siaie Z|P Code

 

Emaii or website address

 

Person Who Made the Payment, if Not You

  
   
  

17. Within 1 year ore you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised eip you deal with your creditors or to make payments to your creditors?
Do not lude any payment or transfer that you listed on line 16.

No
El Yes. Fill in the detailsl

 

 

 

Descr|ption and value of any property transferred Date payment or Amount of payment
transfer was
made
Person Who Was Paid
Number Slrnal $
$

 

 

City State ZlP Code

18. Within 2 years before you filed for bankruptcy, did you se|l, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do nclude gifts and transfers that you have already listed on this statement
No
El Yes. Fill in the details

 

 

 

 

 

 

 

 

Descrlptlon and value of property Describe any property or payments received Date transfer
transferred or debts paid |n exchange was made

Person Who Received Transfer

Number Street

City State ZlP Code

Person’s relationship to you

Person Who Received Transier

Number Street

City State ZlP Code

Person’s relationship to you

Official Form 107 Statement of

case 3 3 5*"*’"5‘5'¢§‘1'5'°F'ii‘é“d“é“iii'é"/:i%f°rBaé‘§'§"i°é diet pages

 

4-'_""_'- ..
Debtor1 f 4 Q_ a 15 a /C/¢ /}/l a w Case number (i/knewn)

First Nirrrio Mlddre Nirrllu Laal Nulliir

 

19.Within 10 `before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
neficiary? (These are often called asset-protection devices.)

 
  
 

No
l:l Yes. Fi|| in the detai|s.

Descriptlon and value of the property transferred Date transfer
was made

Name of trust

 

 

Llst Certaln Financial Accounts, lnatmments, Safe Deposlt Boxes, and Storage Unlts

20. Within 1 year efore you filed for bankruptcy, were any financial accounts or instruments held in your name,` or for your benefit,

    

No
El Yes. Fiii in the deteiie.

 

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed, sold, moved, closing or transfer
or transferred
Name of Financial institution
xxxx- El checking s
m Savings

 

Number Street
m Money market

 

m Brokerage

 

 

 

City State ZlP Code n Other
XXXX- cl Checking $
Name of Financial institution
i n Savings
Number Street m Money market

m Brokerage

 

El other

 

 

City State ZlP Code

` 21. Do you now have, or did you have within 1 year before you fried for bankruptcy, any safe deposit box or other depository for
secu ' ' s, cashl or other valuables?
No
El Yes. Fiii in the deteiis.

l
|
` Who else had access to it? Describe the contents Do you still
l

 

 

 

 

 

 

 

have it?
n No
Name of Financial institution Name n Yes
Number st'°°‘ Number Street
|
' City State ZlP Code
city stare ziP code
Official Form 107 St tatement of Financial Affairs for_ ndividu ua i in for Bankrupt page 9
Cese1-3 330 Doc# 1 lie 07 7/1 0)1 Pege 177 oi 61

 

`¢--/_"
Debtor1 / !"| f gets "\' /<_¢ MM/?"QA Case number (irrimi.}

First Name Middle Name Last Name

22. Hav ou stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No
El Yes. Fill in the details.

 

 

 

 

 

 

Ownei*s Name

 

Number Street

 

Number Street

 

 

 

 

City State ZlP Code
City State ZlP Code

Part 10: lee Detalls About Environmental information

For the purpose of Part 10, the following definitions apply:

 

 

Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, iand, soill surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous materia|, pollutantl contaminant, or similar term.

Report all notices, reieases, and proceedings that you know about, regardless of when they occurred.

Who else has or had access to it? Describe the contents Do you still
have it?
n No
Name of Storage Facility Name n Yes
Number Street Number Street
CityState ZlP Code
City State ZlP Code
identify Property You Hold or Control for Someone Else
El Yes. Fill in the detaiis.
Where is the property? Describe the property Value

24,Vnmenta| unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

0
U Yes. Fill in the detaiie.

 

 

 

 

 

Governmental unit Environmental law, if you know it
Name of site Governmental unit
Number Street Number Street
City State ZlP Code
City State ZlP Coda
Official Form 107 Statement of Financial Affairs for individuals Fiiin for Bankrupt

Case 18-11330 Doc# 1 Filed 07/10/1 Page 13 of 61

Date of notice

page 10

Debtor1 WMG' %: ' /Z/a¢€(

i-'i¢s! Nu¢ni) Middle N:rrr.s Lasi Name

ZS.VWany governmental unit of any release of hazardous materia|?
o

El Yes. Fill in the detaiis.

 

 

 

 

 

 

Case number r.'iime»ii}

Governmental unit Environmental law, if you know it Date of notice
Name of site Governmental unit
Number Street Number Street

City State ZlP Code

 

City State ZlP Code

26.Have yo en a parw in anyjudicia| or administrative proceeding under any environmental law? include settlements and orders.

No
El Yes. Fill in the detaiis.

Court or agency

 

 

 

 

 

Case title
Court Name
Number Street
Case number city state ziP code

m lee Detalls About Your Business or Connectlons to Any Business

Status of the
case

Nature of the case

n Pending
n 0n appeal
cl Concluded

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
n A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

n A member of a limited liability company (LLC) or limited liability partnership (LLP)

n A partner in a partnership
El An officer, director, or managing executive of a corporation

you of at least 5% of the voting or equity securities of a corporation
o. None of the above applies. Go to Part12.

n Yes. Check ali that apply above and fill in the details below for each business.

Describe the nature of the business

 

 

Number Street
Name of accountant or bookkeeper

 

 

Business Name
i

City State ZlP Code
Describe the nature of the business

 

l Business Name

 

Number Street
l Name of accountant or bookkeeper

 

ciiy _ _ _ stare ziP code
Official Form 107 Statement of Financial Affairs for individuals Fiiin

Case 18-11330 DOC# 1 Filed 07/10/1

for Bankruptc

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Empioyer identification number
Do not include Social Security number or lT|N.

E|N: -

Dates business existed

From To

Empioyer identification number
Do not include Social Security number or lT|N.

E|N: -

Dates business existed

From To

page 11

 

r-'~""""r
Debtor 1 /Ae£/¢J& z _ %7[(.¢€_§ Case number (lrmemip

Firsl Name Middle Name i usi Nnum

 

Describe the nature of the business Empl°yer ldemmcatlon number
Do not include Social Security number or lT|N.

 

Business Na me

 

 

EiN:__-________
Number Street
Name of accountant or bookkeeper Dates business existed
|
From To

 

City State ZlP Code

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include all financial

;\lstit)t'p~s, creditors, or other parties.
No

Ei Yes. Fill in the details below.

Date issued

 

Name m

 

Number Street

 

 

City State ZlP Code

Sign Below

 

| have read the answers on this Statement of Financial Affairs and any attachments, and l declare under penalty of perjury that the
answers are true and correct. l understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

x (S)r\Q/l/SQ»._MOM` x

Signature of Debtor1 Signature of Debtor 2

| ` .

' pate 211 A O[JO/ g Date

|

` Did you att ch additional pages to Your Statement of Financial Affairs forlndividuals Filing for Bankruptcy (Officiai Form 107)?
|

l Did pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

No

n Yes. Name of person _ Attach the Bankruptcy Petl'tion Preparer's Notice,
Declaratl'on, and Signature (Officia| Form 119).

 

 

easesr§.'elei§§d"atz@'e 118 feinsaits~rltdlie°r assets Oi 61

 

Fill in this information to identify your case and this filing:

Debtor 1 7%'€ r':‘L:Q-J G\- K , 07 F}’f('.,"{. J

First Nl'\mo' Middle Name Last Nrimo

Debtor 2
(Spouse, if filing) First Name Middle Name LeslName

United States Bankruptcy Court for the: Dislrict Of [§ § Q g 143

Case number

 

 

El check if this is en
amended filing

 

 

Official Form 106A/B
Schedule AlB: Property 12/15

in each category, separately list and describe items. List an asset only once. if an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. if two married people are filing together, both are equally
responsible for supplying correct information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

m Describe Each Residence, Building, Land, or other Real Estate You own or Have an interest ln

 

i. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

Ei No. Go to Part 2.

es. Where is the property?

what ls the property? Check all that app|y' Do not deduct secured claims or exemplions. Put

` ' - %gie-famiiy home the amount of any secured claims on Schedule D:
1 1 l to 5 cl_ 5 _ ii i'“g . _ _ _ creditors who Have C/aims secured by Pmpeny.
t ' n Dup|ex or muitl-unit building
Slrieal address. il evaltable. or other descr|pi|on

 

 

 

 

n COndOminium Ol' COOPel'atiVe Current value of the Current value of the
n Manufactured or mobile home entire Pr°Pe"ty? P°ni°n you °W"?
v _ Ell_end $_l»{$`}ooo.bo $//)aeo.oo
t ' ` n investment property
_ t C/ i/\ \i"~ i<.i$ L’/l Li\ n Timeshare Describe the nature of your ownership
City State ZlP Code n Other interest (such as fee simple, tenancy by

 

the entireties, or a life estate), if known.
Who has an interest in the property? Check one.

SQ/S\W~"QL mm only

County 0 i;i Debtor 2 only
n Debtor 1 and Debtor 2 only
meet one of the debtors and another

Other information you wish to add about this item, such as local
property identification number:

 

i;i Check if this is community property
(see instructions)

 

|f you own or have more than one, list here:

what ls the property? Check all that app|y' Do not deduct secured claims or exemptions Put

n Singie-family home the amount of any secured claims on Schedule D.'
Credilors Who Have CIa/'ms Secured by Property.

 

 

 

 

1~2~ El l '- ' b 'ld'

Street address, if availab|e, or other description Dup ex o_r_mult| umc ul "_19
cl COndOmln'Um Or <300|»`>eratlve Current value of the Current value of the
n Manufactured or mobile home entire Pl'°Pe"ty? P°l'ti°n you °Wn?
Ei Land $ $
i;i investment property

. Describe the nature of your ownership

City State ZlP Code n T'meshare interest (such as fee simple, tenancy by

n Other the entireties, or a life estate), if known.

 

Who has an interest in the property? Check one
n Debtor1 only
i:i Debtor 2 only

Ei Debtor1 and Debtor2 only m Check if this is community property
i;i At least one of the debtors and another (See inSfl'UCiiOHS)

 

 

County

Other information you wish to add about this iteml such as local
property identification number:

 

Official Form 106A/B Case 18-113308ch2.lcu)|0e¢/§/]B_: Pr¢i'):p|t|eret§'j 07/10/18 Page 21 Of 61 page 1

7%&/3-€6 4-

Fir_-rt Norlle NEr.l¢lle Name

Debtor 1

1.3,

¢C' /Vi/$"/€et`

Lasi Name

 

Street address, if availab|e, or other description

 

 

City State

ZlP Code

 

County

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that number here. ............................................................................ . ......... 9

M Describe Your Vehicles

What is the property? Check all that apply_
Singie-family home
Dupiex or multi-unlt building
Condominium or cooperative

Land

investment property
Timeshare

Other

El
C|
El
i:i Manufactured or mobile home
E|
EI
El

 

Who has an interest in the property? Check one.

Ei Debtor1 only

Ei Debtor 2 only

n Debtor1 and Debtor 2 only

Ei Ai least one of the debtors and another

Case number uranium

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedu/e D.'
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

$ $
Describe the nature of your ownership

interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

ci Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

 

$ llqoog.oo

 

 

 

Do you own, lease, or have legal or equitable interest in any vehiclesl whether they are registered or not? include any vehicles
you own that someone else drives. lf you lease a vehic|e, also report it on Schedule G.' Executory Contracts and Unexpired Leases.

. 3. C;!a:;wtrucks, tractors, sport utility vehicles, motorcycles

o
n Yes
3.1. Make: _
Modei:
Year:

Approximate mileage:

Other information:

___T

if you own or have more than onel describe here:

3_2, Make:
Modei:
Year:
Approximate mileage:
Other information:

F' '__y'

Official Form 106A/B

Case 18-11330S

Who has an interest in the property? Check one.
Ei Debtor1 only

i:i Debtor 2 only

i:i Debtor 1 and Debtor 2 only

i;i Ai least one of the debtors and another

i:i Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

i;i Debtor1 only

n Debtor 2 only

Ei Debtor1 and Debtor 2 only

i;i At least one of the debtors and another

Ei Check if this is community property (see
instructions)

Doc# 1
chedule AlB: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have C/a/'ms Secured by Property.

Current value of the
portion you own?

s $ O

Current value of the
entire property?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedu/e D.'
Cred/tors Who Have Clal'ms Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

s $\O

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page 2

lC. /l“f/rl/Les

 

fm tries lt-

 

 

Who has an interest in the property? Check one.

Ei At least one of the debtors and another

Ei Check if this is community property (see

Who has an interest in the property? Check one_

Debtor 1
First Name Mier Name ' Lasi Name
3_3_ Make:
Mode|: i;i Debtor1 only
Y i;i Debtor 2 only
ear:
Ei Debtor1 end Debtor 2 only
Approximate mileage:
Other information:
instructions)
3_4_ Make:
Modei: Cl Debtor1 only
i;i Debtor 2 only
Year:

Approximate mileage:

Other information:

Ei Debtor 1 and Debtor 2 only
Ei At least one of the debtors and another

Ei Check if this is community property (see
instructions)

Case number (irimown)

 

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedu/e D:
Creditors Who Have C/al'ms Secured by Property.

Current value of the
portion you own?

$ 5 0

Current value of the
entire property?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have C/aims Secured by Property.

Current value of the
portion you own?

0

Current value of the
entire property?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories

Examp/es.' Boats, trailers, motors, personal watercraft, fishing vesselsl snowmobiles, motorcycle accessories

BNO/

n Yes

4_1_ Make:
Modei:
Year:

Other information:

if you own or have more than one, list here:

4,2_ Make:
Model'l
Year:

Other information:

5 Add the dollar value of the portion you own for all of your entries from Part 2l including any entries for pages

Who has an interest in the property? Check one.

i;i Debtor1 only

Ci Debtor 2 only

i;i Debtor1 and Debtor 2 only

i:i At least one of the debtors and another

Ei Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
i;i Debtor1 only

i;i Debtor 2 only

Ei Debtor 1 and Debtor 2 only

n Ai least one of the debtors and another

i;i Check if this is community property (see
instructions)

you have attached for Part 2. Write that number here

Official Form 106A/B

Case 18-11330S

Doc# 1
chedule A/B: Property

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Credilors Who Have Clal'ms Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedu/e D:
Creditors Who Have C/al'ms Secured by Properiy.

Current value of the
portion you own?

Current value of the
entire property?

 

 

 

 

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page 3

Debtor1 719 £~lsv\. h , //M /q’iée\] Case number llllii.olyii)

 

 

 

Firsl Nlliuo ' Midd|r.l Nulllo Lasi Name
m Describe Your Personal and Household items
. . . . . Current value of the
Do you own or have any legal or equitable interest ln any of the following ltems? portion you own?

Do not deduct secured claims
or exemptions.

6. Household goods and furnishings
Examp/es: Major appliances, furniture, linens, chinal kitchenware

n NO : _ _ '
%s.Describe ......... ` fit JMOUL) d&Qg§_LQ?ML)L/Q 'i*aé)i,b) Cj/\Olf;~i?

|$ 300.<>0

7. Electronics
Examp/es: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
E/ collections; electronic devices including cell phones, cameras, media players, games

No _ _ _ _
Ei Yes. Describe.........., $ §

 

8. Collectibies of value

Example :Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
B/; stampl coin, or baseball card collections; other collections, memorabilia, coilectibies
No

 

n Yes. Describe ..........

 

 

9. Equipment for sports and hobbies
Examp/es: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
E/ and kayaks; carpentry tools; musical instruments
No

 

l;i Yes. Describe .......... `
10.Firearms

gam§es: F’istolsl rifles, shotgunsl ammunition, and related equipment

No _

Ei Yes. Describe .......... $ »O

 

 

 

11.Clothes
Examp/es: Everyday clothesl furs, leather coats, designer wear, shoes, accessories

CiNo ___ __ _ ___ _ __ _ _
eS'DeSC"be """"" l fluids 1 ,OMH) seeks ,, b,€w)_u~_deo C/ol-lt¢e~, l $___‘;‘0°' 90

12 Jeweiry
Examples: Everydayjewelry, costume jewelry, engagement rings, wedding ringsl heir|oom jewelry, watches, gemsl

M/gold, silver
o _ _ _ _ ___ _ _ _
Ei Yes. Describe .......... 4 i $_Q_

13_Non-farm animals
Examp/es.' Dogs, cats, birds, horses

EiNo

M. Describe........._l `DcS/_ _ i $ Q

14.Any other personal and household items you did not already iist, including any health aids you did not list

Ei No
m Give specific , '
information. .............. pl C+'"'e!"s 0 z l£f»mi [/'\Q,ML@A/J. $_O__

15 Add the dollar value of ali of your entries from Part 3, including any entries for pages you have attached $ § ; : §§ 0
for Part 3. Write that number here _ .. . 9 """"

 

 

 

 

. . Case 18-11330 Doc# 1 Filed 07/10/18 Page 24 of 61
Official Form 106A/B Schedule AlB: Property page 4

 

Debtor1 7%`£ il ga h ¢ /'/)fl a Ae\; Case number (i/leowni

 

First Name Midd|o Ntune Losl Name

m Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?

16. Cash

 

Examp/es: Money you have in your wallet, in your home, in a safe deposit boxl and on hand when you file your petition

i;i No
Ei/Y§s ......

 

17. Deposits of money

Examp/es: Checking, savingsl or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,

and other similar institutions. lf you have multiple accounts with the same institution, list each,

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

El N
Yes institution name:
- <9 10
17.1. Checking accounts I»/'/')eu»f+' BA'A//C $ /'
17.2. Checking account: 5
17.3. Savings account: $
17.4. Savings account: $
17.5. Certificates of deposit: $
17.6. Other financial account: $
17.7. Other financial account: $
17.8. Other financial account: $
17.9. Other financial account $
18. Bonds, mutual funds, or publicly traded stocks
;m/MeerBond funds, investment accounts with brokerage firms, money market accounts
No
Ei Yes ................. institution or issuer name:
19. Non-pub|icly traded stock and interests in incorporated and unincorporated businesses, including an interest in
:.n?zrtnership, and joint venture
0 Name of entity: % of ownership:
Ci Yes. Give specific O% % $ 0
information about Oo/
them..... _. ° %
0% % $
18-11330 DOC# 1 Filed O7/10/18 Pa e 25 Oi 61
Official Form 106A/B Case Schedule A/B: Property g page 5

Debtor1 ; ;.i we 5a b //}7 /?'£Q 5 Case number (/rknawn)

 

Fl.r!l Numa Middle Ncrmo Last Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiab/e instruments include personal checks, cashiers' checksl promissory notesl and money orders.
Viable instruments are those you cannot transfer to someone by signing or delivering them.
No

El Yes. Give specinc issuer name:
information about

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

them ....................... $
$___
$
21. Retirement or pension accounts
;¢F€§lnterests in iRA, ER|SA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
No
Ei Yes. List each
account separateiy. Type of account: institution name:
401 (k) or similar plan: $
Pension plan: $
lRA: $
Retirement account $
Keogh: $
Additionai account $
Additionai account $
22.Security deposits and prepayments
Your share of ali unused deposits you have made so that you may continue service or use from a company
Examp/es: Agreements with |andiords, prepaid rent, public utilities (eiectric, gas, water)l telecommunications
com s, or others
No
n Yes .......................... institution name or individuai:
Electric: $
Gas: $
Heating oii: $
Security deposit on rental unit: $
Prepaid rent: $
Teiephone: $
Water: $
Rented furniture: $
Other: $
ZS.Wes/U contract for a periodic payment of money to you, either for life or for a number of years)
No
n Yes ......... . issuer name and description:
$
__ $
$

 

Official Form 106A/B Case 18-113303¢h£?19|ee#;/%: Pni):plt|eet§i 07/10/18 Page 26 of 61 page 6

Debtor 1 "/7!/2 L\"CL»' L' M{L/ZQJ Case number q.mm.,.;

First N\{mn Middle Nomq Lnar hamm

 

24. interests in an education lRA, in an account in a qualified ABLE program, or under a qualified state tuition program.

2694/§§ 530(b)(1)l 529A(b), and 529(b)(1).
No

El Yes ....................................

institution name and description. Separateiy file the records of any interests.ii U.S.C. § 521(c):

 

 

 

25.Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercis le for your benefit
No

m Yes. Give specific
information about them.... $

 

 

 

 

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
;Yoies: internet domain names, websites, proceeds from royalties and licensing agreements
No

 

El Yes. Give specific

 

 

 

 

 

information about them.... $
2?. License_s, franchises, and other general intangibles
Exa es: Buiiding permits, exclusive iicenses, cooperative association hoidings, liquor iicenses, professional licenses
No _ _ _ _ _ _ _ _
n Yes. Give specific
information about them.... $
Money °l' Property °Wed f° y°U? Current value of the

portion you own?
Do not deduct secured
claims or exemptions.

ZB.WS owed to you
o

n Yes. Give specific information |
about them, including whether '
you already filed the returns State:
and the tax years. .......................

Federai:

Locai:

 

[:l Yes. Give specific information ..............

   

A|imony: $
Maintenance: $
Support; $
Divorce settlement $
Property settlement $
30 Other am nts someone owes you
Examp/ s: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
n Yes. Give specific information. __ _ l
$

Case 18-11330 DOC# 1 Filed 07/10/18 Page 27 of 61
Official Form 106A/B Schedule A/B: Property page 7

Debtor 1 UQ'AU“' /<{' /,VlA/€-E-‘r Case number (i/i<mwni

lin-ai Nmrio Middle Name Lasi Namn

 

 

El Yes. Name the insurance company

l . _ Company name: Beneficiary: Surrender or refund value:
of each policy and list its value_ ..

 

 

 

32. Any interest in property that is due you from someone who has died

if you are he beneHciary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
prop because someone has died.

No
El Yes. Give specific information .............. `

§§

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
xa es: Accidents, employment disputes, insurance ciaims, or rights to sue

No
n Yes. Describe each ciaim. .................... l

§§

 

34.0ther co ingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to se ff claims

No
n Yes. Describe each ciaim. .................... `

x

 

35.A y fi ncia| assets you did not already list

3
oz
|
|

 

El Yes. Give specific information ............ l s

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here ') $ -

 

 

 

m Describe Any Business-Related Property You 0wn or Have an interest ln. List any real estate in Part 1.

 

37.[;');)u}aror have any legal or equitable interest in any business-related property?
o. Go to Part 6.
m Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured claims
or exemptions
38.Accounts eceivab|e or commissions you already earned
o
m Yes. Describe.,...._|

39. Office equipment, furnishings, and supplies
i:-:rayy€§Business-reiated computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
No

El Yes. Describe. $

Case 18-11330S DOC# 1 Filed 07/10/18 Page 28 of 61

Official Form 106A/B chedule A/B: Property page 8

Debtor1 f /Q_Iz){ S £~ /<.I m /»} £ P_ -\ Case number mem-iii

Firni.l‘i: lmo Wdria Name Last Name

 

40. W, tixtures, equipment, supplies you use in business, and tools of your trade

 

ij Yes. Describe _______

litig/911sz
' No .____ - _
m Yes. Describe...._._' P_____

42,|;?54% partnerships orjoint ventures
No

n Yes. Describe .......

 

 

 

 

Name of entity: % of ownership:
% $
% $
% $

 

43.Ws, mailing lists, or other compilations
No

|:l Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

n No __
n Yes. Describe ........

y 44.Mss-re|ated property you did not already list
f No

n Yes. Give specific

 

 

 

 

 

 

 

 

 

information ......... $
$
$
$
$
$
45, Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ 9
for Part 5. Write that number here .............. . ..................................................................................................................................... ')

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You 0wn or Have an interest ln.
if you own or have an interest in farmland, list it in Part1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
n No. Go to Part 7.
n Yes. Go to line 47.
Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

47 Farm animals
Examp/es: Livestock, poultry, farm-raised fish

m No
n Yes.. .. .

Official Form 106A/B Case 18-113300|1£)9§§/§ Pr£ile§i 07/10/18 Page 29 of 61 page 9

Debtor 1 Case number (irknaw,.)

_/c. mri/ties

La',ii Name

#i’i\'@€$¢\.

Firsi lime ' media mm

48 Crop

No __ -- - ___
U Yes. Give specific
information.............

43. Wfishing equipment, implements, machinery, fixtures, and tools of trade
No

itiier growing or harvested

 

n Yes .......................... ' n _

 

50. FDaMd fishing supplies, chemica|s, and feed
No

El Yes`

 

51.)\`5¥Gm~ and commercial fishing-related property you did not already list
No

 

a Yes. Give specific
information.............

 

 

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
for Part 6. Write that number here .................................................................................................................................................... 9

m Describe All Property You Own or Have an interest in That You Did Not List Above

53. Do you ha other property of any kind you did not already list?
§¢'WXS¢:$U tickets. country club membership
No _

El Yes. Give specific
information. ............

 

54,Add the dollar value of all of your entries from Part 7. Write that number here ................................................................. 9

List the Totals of Each Part of this Form

 

 

 

$F}

 

 

 

 

 

55.Part 1: Total real estate, line 2

 

 

56 Part 2: Total vehicles, line 5

57 Part 3: Total personal and household items, line 15

58 Part 4: Total financial assets, line 36

59 Part 5: Total business-related property, line 45

60 Part 6: Total farm- and fishing-related property, line 52

61 Part 7: Total other property not iisted, line 54

62 Total personal property. Add lines 56 through 61. .................

63 Total of all property on Schedule A/B. Add line 55 + line 62.

Case 18-11330 DOC# 1 Filed 07/10/18 Page 30 of 61
Schedule AlB: Property

Official Form 106A/B

$ \O»OD
$ 50€>.0d

$ lfgllOO

$O-OD

_Copy personal property total 9 + $

___-) $ OOO.DO

 

 

 

 

Fill in this information to identify your case:

Debtor1 _.7-/_'€£” ,i._ of 3 k ;: ~ 113/l J'?’j€ l? »5

First N.1m Middle Name l nsl Name

Debtor 2
(Spouse, if filing) First Name Middle Name Lasi Name

United States Bankruptcy Court for the: District of <LMH/J

case number Cl check if this is an
("""°‘”") amended filing

 

 

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/16

 

 

Be as complete and accurate as possible. if two married people are filing togetherl both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Of'ficiai Form 106A/B) as your source, list the property that you claim as exempt, if more
space is needed, fill out and attach to this page as many copies of Part 2: Additiona/ Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. A|ternative|y, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions_such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds_may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

m identify the Property You Claim as Exempt

1. Which of exemptions are you claiming? Check one on/y, even if your spouse is filing with you.

ou are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
n You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information beiow.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
Brief ` o CS RQO‘ 00 n
description: $__ $

. El 100% of fair market valuel up to ' ,. ' 0 f
g::e:;:?; A/B__ ll , any applicable statutory limit k“LA' 690 ij L/ a)

i \ r‘)"
E;‘§§rpron~“ _;'_M“S~‘“° iii 0 033 r“’”“ 306 00 cr $
Line from t El 100% of'fair market valuel up to /Cl J;A_ 6 0 ,0,259 §/

Schedule A/B_- any applicable statutory limit
Brief _ -
description: NOLBL£:M_ANM $ § 2¢ v 0 g $
- 100% of fair market value, up to /C 5
Line from , -
Schedule A/B_- 3 any applicable statutory limit 'J'A 0 330 q

3. Are you claiming a homestead exemption of more than $160,375?
(Subje adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
No

 

 

n Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
l;l No
n Yes

Case 18-11383;9`?®£)9_0#1 Fi|e dO 7/ O/18 Page 31 0f61

Official Form 1060 The Property You aim as Exempt page 1 of_

Debtor 1

7-;'{£ ft J¢“' /C" /Ma Le--.l Case number (ifknown)

 

Fimi Namd motion Niimq 1_.1:\| N.'armf

m Additiona| Page

 

Brief descrip
on Schedule

Brief
description:

Line from

Schedule A/B.'

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B.'

Brief
description:

Line from

Schedule A/B.'

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedu/e A/B.'

Brief
description:

Line from

Schedule A/B.'

Brief
description:

Line from

Schedu/e A/B.l

Brief
description:

Line from

Schedu/e A/B:

Official Form 1060

tion of the property and line Current value of the Amount of the exemption you claim Specific laws that allow exemption
A/B that lists this property portion you own

Copy the value from Check only one box for each exemption
Schedule A/B

$ El$

Cl 100% of fair market value, up to
__ any applicable statutory limit

 

$ El$

\:l 100% of fair market value, up to
any applicable statutory limit

 

$ El $ _
El 100% of fair market valuel up to
_ any applicable statutory limit

 

$ El$

El 100% of fair market value, up to
“_ any applicable statutory limit

 

s El$

cl 100% of fair market value, up to
any applicable statutory limit

 

$ El $ __
n 100% of fair market value, up to
_ any applicable statutory limit

 

$ Cl$

|;l 100% of fair market value, up to
__ any applicable statutory limit

 

$ El $
n 100% of fair market value, up to
any applicable statutory limit

 

$ i'_`l $
El 100% of fair market value, up to
__ any applicable statutory limit

 

$ El$

m 100% of fair market value, up to
_ any applicable statutory limit

 

$ El$

n 100% of fair market value, up to
any applicable statutory limit _

 

$ El$

n 100% of fair market valueI up to
_ any applicable statutory limit

 

Case 18-11§§10 Doc#eii, Filed 07/10/18 Page 32 of 61

edule C: roperty ou Claim as Exempt page 2_ of_

Fill in this information to identify your case:

newa THERESA . iviARES

First Name Lasi Name

 

Debtor 2
(Spouse, if filing) Firsi Name Middle Name Lasi Name

 

United States Bankruptcy Court for the: Distrin Of KanSBS

Case number
i|f knowni

 

 

Official Form 106D

El check ifthis is ah
amended filing

Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, copy the Addltional Page, fill it out, number the entries, and attach it to this form. On the top of any

additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?

cl No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

M Yes. Fill in all of the information below.

 

List Aii secured claims

 

 

 

 

 

 

 

 

 

 

 

 

 

Case 18-11330 Doc# 1 Filed 07/10/18 Page 33 of 61

Column A Column B Column C
2. List all secured claims. |f a creditor has more than one secured claim, list the creditor separately Amount of claim value of milam-ai unsecured
for each claim. if more than one creditor has a particular claim, list the other creditors in Part 2. D° not deduct me mat supports this portion
As much as possible, list the claims in alphabetical order according to the creditor's name. value of oo"atemi_ claim if any
@ Mr. COoper Home Loan Describe the property that secures the clalm: $ 251000 s 10»000 $ 0
Creditofs Name _ _ _ _ _ _
HOUSE AT 1652 SOUTH ELL|S WiCH|TA KS
8950 Cypress Waters Blvd.
Number Straa| _
As of the date you file, the claim ls: Check all that apply.
g Contingent
COPP€‘|| TX 75019 Ei unliquidated
city srare ziP code ij Dispmed
Who Owes fh® debf? Check One- Nature of lien. Check all that apply_
m Debtor1 °nlii g An agreement you made (such as mortgage or secured
n Debtor 2 only car loan)
n Debtor1 and Dobior 2 oniy n Statutory lien (such as tax lien, mechanic's lien)
cl At least one of the debtors and another cl Judgmenf lien from a lawsuit
Cl other (inciuding a right to orrset)
El Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number__l l l _8_
ig| Describe the property that secures the c|alm: $ $ $
Credltors Name ":
Number Street _
As of the date you file, the claim is: Check all that apply.
n Contingent
cl Uniiquidated
City State ZlP Code n Disputed
Wh° OWES the debt? Check 0'19- Nature of llen. Check all that app|y.
n Debt°f 1 0an cl An agreement you made (such as mortgage or secured
n Debtor 2 only car loan)
C] Dobior1 and Debtor 2 only n Statutory lien (such as tax lien, mechanic's lien)
a At least one of the debtors and another cl J"dgm°m lien f'°m a lawsuit
a Other (inciuding a right to offset)
n Check lf this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number_ __ ___ _
Add the dollar value of your entries in Column A on this page. Write that number here: E__ |
Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of _

THERESA

Debtor 1

K.

MARES Case number rifknownl

 

 

First Name Middle Name

Additional Page

After listing any entries on this page, number them beginning with 2.3, followed

by 2.4, and so forth.

Lasi Name

Column A Column B

Column C

Amount of claim Value of collateral Unsecured

 

 

 

 

 

 

 

 

 

 

 

 

 

Do not deduct me that supports this portion

 

 

 

 

 

 

value of collateral. Claim if any
Describe the property that secures the claim: $ $ $
Credltors Name _
l
Number Street
As of the date you fi|e, the claim is: Check all that apply.
n Contingent
City State ZlP Code El Unliquidated
El Disputed
Who owes the debt? Check one. Nature of lien, check all that apply.
a DebeF 1 0an l;l An agreement you made (such as mortgage or secured
cl Debtor 2 only car loan)
|:| Debtor1 and Dobior 2 only n Statutory lien (such as tax lien, mechanic's lien)
l:l At least one ofthe debtors and another l;l Judement lien from a lawsuit
Cl Other (inciuding a right to offset) _ _
El cheek if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number_ _ _ _
m Describe the property that secures the claim: $ $ $
Creditors Name _ _ _
Number Street _ i
As of the date you file, the claim is: Check all that apply.
l:l Contingent
El unliquidated
City State ZlP Code n Dispmed
who owes the debt? Check °ne' Nature of lien. Check all that apply.
n Debtor1 only n An agreement you made (such as mortgage or secured
n Debtor 2 only car loan)
l;l Debtor 1 and Debfor 2 Only l;l Statutory lien (such as tax lienl mechanic's lien)
l:l At least one of the debtors and another Cl Judgmeni lien from a lawsuit
El Check if this claim relates to a m Other ('nc|udmg a right to offset)
community debt
Date debt was incurred Last 4 digits of account number _ _ _ _
m Describe the property that secures the claim: $ 5 $
Credilors Name _
l
Number Street _
As of the date you fi|e, the claim is: Check all that apply.
Cl Contingent
City State ZlP Code o Un|iquidated
El Disputed
Who owes the debf? Check one. Nature or lien. check all that apply.
n Debtor1 0an El An agreement you made (such as mortgage or secured
n Debtor 2 only car loan)
E| Debior 1 and Debtor 2 oniy l._.l Statutory lien (such as tax lien, mechanic's lien)
El At least one of the debtors and another n Judgmenl lien from a laWSul'l
El other (inciuding a right to errset)
El check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number _ _ _
Add the dollar value of your entries in Column A on this page. Write that number here: 13
if this is the last page of your fonn, add the dollar value totals from all pages.
Write that number here: $
Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page _ of _

Case 18-11330 Doc# 1 Filed 07/10/18 Page 34 of 61

Debtor 1

THERESA

K.

MARES

Case number (lrlrnown)

 

First Name

Middle Name

l..laul Nllme

List others to se Notined for a mt That You Alrea¢ly Lis¢ed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
be notified for any debts in Part 1, do not till out or submit this page.

g On which line in Part 1 did you enter the creditor?

Name

Last 4 digits of account number _

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Number Street
City State zlP code

|:| On which line in Part 1 did you enter the creditor? _
Name _ __- Last 4 digits of account number _ _ _
Number Street
City State ZlP Code

| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number _ _ __ _
Number Street
City State Z|P Code
l On which line in Part 1 did you enter the creditor? __

Name Last 4 digits of account number _7_ l _4_ l
Number Street
City State ZlP Code

m On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number _ _ _
Number Street
City State ZlP Code

U On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number _ _ _ _
Number Street
City State ZlP Code

Ofiicial Form 1060

Part 2 of Schedule D: Creditors Who Have Claims Secured by Property

Case 18-11330 DOC# 1 Filed 07/10/18 Page 35 of 61

page _ of _

Fi

Debtor 1

il in this information to identify your case:

7'%€/:‘€¢¢» k

Fir-\l P~[»lml\ Mm'ln‘lr\ hinml\

Debtor 2

(Spouse, if H|ing) First Name

United States Bankruptcy Court for the:

/'mtar l

l.:l'!l *F:l"rlrl

 

Middle Name

Case number
(if known)

Lasi Name

__District of é 0. J\/J/}f

 

 

 

Official Form 106E/F

 

Schedule ElF: Creditors Who Have Unsecured Claims

n Check if this is an
amended filing

12/15

 

Be as complete and accurate as possible. Use Part 1 for creditors with PR|ORlTY claims and Part 2 for creditors with NONPR|OR|TY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106AlB) and on Schedule G: Executory Contracts and Unexpired Leases (Officia| Form 1066). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. if more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

m List All of Your PR|ORlT¥ Unsecured Claims

Wreditors have priority unsecured claims against you?

"i.

o. Go to Part 2.

m Yes.

List all of your priority unsecured claims. if a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. if a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possiblel list the claims in alphabetical order according to the creditor's name. |f you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. if more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

2.1

 

 

 

Official Form 106E/F

 

Priority Creditofs Name

 

Number Street

 

 

Cily State

Who incurred the debt? Check one.

n Debtor1 only

n Debtor 2 only

[:l Debtor 1 and Debtor 2 only

n At least one of the debtors and another

ZlP Code

l;l Check if this claim is for a community debt

is the claim subject to offset?

n No
0 Yes

Total claim

Last 4 digits of account number ___ $

When was the debt incurred?

As of the date you file, the claim is: Check all that apply
n Contingent

n Unliquidated
cl Disputed

Type of PR|ORlTY unsecured claim:

n Domestic support obligations
n Taxes and certain other debts you owe the government

n Claims for death or personal injury while you were
intoxicated

l:l Other. Specify

 

Priority
amount

Nonprlorlty
r amount

$

 

 

 

Priority Credltor's Name

 

Number Street

 

 

City State ZlP Code

Who incurred the debt? Check one.

n Debtor1 only

[:] Debtor 2 only

Cl Debtor1 and Debtor 2 only

m At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

n No
m Yes

Last 4 digits of account number _ _

When was the debt incurred?

As of the date you file, the claim is: Check all that apply
[;l Contingent

Cl unliquidated
n Disputed

Type of PR|ORlTY unsecured claim:
Domestic support obligations
Ta)<es and certain other debts you owe the government

Claims for death or personal injury while you were
intoxicated

l;l UII|U

Other Specify

Case 18-11330 Doc# 1 Filed 07/10/18 Page 36 of 61

Schedule E/F: Creditors Who Have Unsecured Claims

page 1 of_

77e/iue /<’.

Debtor 1

//l('t.£~€ J

Case number (lrmlown;

 

 

l-'lra! Name Mldil|o Name

Last Nitmn

m Your PR|ORlTY Unsecured Claims - Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth. Total claim Priority Nonprlorlty
amount amount
l:l '
Last 4 digits of account number _ _ _ _ 5 $ $ l
Priority Creditor‘s Name l
l
When was the debt incurred? l
Number Street
As of the date you filel the claim is: Check all that apply. |
n Contingent
city state zlP code El Un|iquidated
El Disputed
Who incurred the debt? Check one.
El Debtor1 only Type of PR|ORlTY unsecured ciaim:
n Debtor 2 only cl Domestic support obligations
E| Dablor 1 and Debtor 2 only .
l:l Taxes and certain other debts you owe the government
n At least one of the debtors and another a . . . . |
Claims for death or personal injury whl|e you were
El Check if this claim is for a community debt 'ntoxlcated l
E| other specify
is the claim subject to offset?
n No
5 n Yes
- Last 4 digits of account number _ __ _ _ $ $ $ l
l Priority Creditor‘s Name l
When was the debt incurred? '
Number Street '
` As of the date you file, the claim ls: Check all that apply.
Cl Contingent
` city state zlP code El Un|iquidated
l n Disputed
- Who incurred the debt? Check one.
El Debtor 1 only Type of PR|ORlTY unsecured claim:
n Debtor 2 only L_.l Domestic support obligations
l:l Debtor 1 and Debtor 2 only . ’
n Taxes and certain other debts you owe the government
n At least one of the debtors and another . . . .
n Claims for death or personal injury while you were
cl Check if this claim is for a community debt 'nt°X'°ated
cl Other. Specify
ls the claim subject to offset?
C| No
n Yes _
Last 4 digits of account number _ _ _ _ $ $ $

 

Priority Creditor‘s Name

 

Number Street

 

 

City State ZlP Code

Who incurred the debt? Check one.

n Debtor1 only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

El Check if this claim is for a community debt

ls the claim subject to offset?

l;l No
n Yes

 

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
n Un|iquidated
n Disputed

Type of PR|ORlTY unsecured claim:

Domestic support obligations
Taxes and certain other debts you owe the government

Claims for death or personal injury while you were
intoxicated

Other. Specify

ij UUU

 

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Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page _ of__

Debtor1 7{/1 ei('{ ) (\ /<: ' /? 7 a /éc ~§/ Case number (ifi<nown)

Flr§l Nnhiil Middle Norrw) Leiiil Name

 

m List All of Your NONPR|OR|TY Unsecured Claims

 

3. Do any creditors have nonpriority unsecured claims against you?
l:l No. ¥ou have nothing to report in this part. Submit this form to the court with your other schedules
es

nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured
claims till out the Continuation Page of Part 2. l

4. List ali of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each ciaim. if a creditor has more than one `

Total claim l

:| 13 QI-'\ lZ-._‘i` ibm rs Y]L€.f ("'OL/K',Ul Last4digits of account number _<B\l __'~)_`_j $ by l |7/ O/) l
Nonprloi'i Creditor‘s ama q 1 ..
Pl Ct: §NO l 00175"’ When was the debt incurred? §§ 0 03 ' 29 i'O
Number _ Street

§rotm_t_ Fr.tll_§ JD 57((7

Siaie ZrP code As of the dat you file, the claim is: Check all that appiy,
onlingent

 

 

 

Who incurred the debt? Check one. |;l Un|iquidated
ebtor 1 only m Disputed
m Debtor 2 only
El Debtor1 and Deblor 2 only Type of NONPR|OR|TY unsecured ciaim:
n At least one of the debtors and another m Student loans

l:l Obiigations arising out of a separation agreement or divorce

' n Check if this claim is for a community debt _ _ , _
' that you did not report as priority claims

 

is the claim subject to offset? n Debts to pension or pront-sharing plans, and other similar debts
Ul»hf” El other. specify
l:l Yes

 

 

 

 

il 565 111 g my (lleka C£L£‘di Last4digits ofaccount number _(g _X_ §: k $M|

Nonpriorlty creditors Name When was the debt incurred? 62 £2[ 2

P.o. i€.t>)§ 1 10 iii-ll

 

Number Slroe| l

rj‘l“ - LO ¢Al § l/Yl 0 dog n f - 0 lM/ As ofthe data you file, the claim is: cheek ali that apply. l
City State ZlP Code cnn“ngem l
Who incu d the debt? Check one. n Un|iquidated l
D#BM:nly n Disputed l

n Debtor 2 only

n Debtor1 and Debtor2 only Type of NONPR|OR|TY unsecured c|alm:

 

 

 

 

 

 

n At least one of the debtors and another n Student loans
_ _ _ Cl Obligations arising oul of a separation agreement or divorce
l;l Check if this claim is for a community debt that you did not repon as priority Claims
is the claim subject to offset? n Debts to pension or prolit-sharing plans, and other similar debts
W l:l Other. Specify
n Yes
4.3 t
| MI ab ij COUQll-\»l (: (A aim Last4 digits of account number _ _ _ _ O'?X;)>’Q§
Nonprior|ty Credilor's Name U _ $
3 1524 9 When was the debt incurred? c>.?,Q/ Z
z o\_ 0 '3
illuer S root '
. , t. / , LU

zsalt rata C..+ii tt tr/ja @? . _ ._
my . j male zlP Code As of the date you file, the claim ls. Check a t at apply.
who inc ed the debt? cheek one. 9 C°'“'"ge"t
arc/un m Un|iquidated

ebtor1 only m Disputed
Cl Debtor2 only
n Debtor1 and Debtor2 Only Type of NONPR|OR|TY unsecured claims
El At least one of the debtors and another

m Student loans
0 Check if this Claim is f°r a Community debt cl Ob|igations arising out of a separation agreement or divorce
ls the aim subject to offset? that you did not report as priority claims t y
n Deth to pension or profit-sharing plans, and other similar debts
0 m Other. Specify

 

El Yes
'_ Case 18-11330 Doc# 1 Filed 07/10/18 Page 38 of 61

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page_ of_

th /776“~€€5

Ld»l Name

Debtor 1

76/’£5€- mm

Fl’li l Name

Case number (iri<nown)

m Your NONPR|OR|TY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

Ll.*\

 

0 ll~i lamil¢' FE,E‘)(£`NUJ

NonEDr‘lly Ciudl|ur's"l~|emte
_Kn YOO
5 J> 57 fr 7

State ZlP C¢.\C£G-

Nu rri_bnr

c!o:§iOUL`L.m `f;_p\._.‘{(:

We debt? Check one.
or 1 only

n Debtor 2 only

n Debtor 1 and Debtor2 only

a At least one of the debtors and another

Cl Check if this claim is for a community debt

ls the cl

No
U Yes

subject to offset?

- /t%L//Y\/H_i‘“ /?i/JJ?"€./¢‘ (n.£’(//

M:"§Y)Morl\ l/rl/ntte+ {’_lll llcl.
(`,l('l b"ygt,j

<_Y a c act N\c i~rl~n
y Bl¥lo! ZlP Code

Who inc d the debt? Check one.
ebtor 1 only

0 Debtor 2 only

Cl Debtor 1 and Debtor 2 only

n At least one of the debtors and another

n Check if this claim is for a community debt

ls th

No
n Yes

/A lech dial /1 cite/j

Nonprlorlty Cmdlk,\i€

mingoth ‘/PBD>L tow/70
f >( 75,;')¢6 0/70

vt tie a j
SEIIIB ZlPCOde

Wmi the debt? check ono.
ebtor 1 only

n Debtor 2 only
El Debtor1 and Debtor 2 only
a At least one of the debtors and another

aim subject to offset?

 

El Check if this claim is for a community debt

ls the cla| ubject to offset?
o

n Yes

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

Total claim

Last 4 digits of account number §§ l O_
c£0/ 7

As of the date you file, the claim is: Check all that apply.

mont

El unliquidated
El Disputed

$_~$_: 0 OZ, 00

When was the debt incurred?

Type of NONPR|OR|TY unsecured claim:

cl Studem loans

cl Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

m Debts to pension or profit-sharing plans, and other similar debts
Cl othor. Speolfy

Last 4 digits of account number _@j § 1

363 .';z$-O_ 0!7
Zo//

When was the debt incurred?

As of the date file, the claim is: Check all that apply.
Contingent

El unliquidated
\:l Disputed

Type of NONPR|OR|TY unsecured claim:

Student loans

Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Debts to pension or profit-sharing plans, and other similar debts

Other. Specify

Ul:| UIJ

t_7 ,Q)

When was the debt incurred? cp Q l 2

As of the you file, the claim is: Check all that apply.
cntingent

El unliquidated
Cl Disputed

Last 4 digits of account number 5 21

Type of NONPR|OR|TY unsecured claim:

n Student loans

cl Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or protit-sharirig plans, and other similar debts

Cl othor. specify

page _ of _

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Debtor1Mm/Ae£/es[* Jk_»

Middn Nnrnt‘i tit NilmB

/)?a /C.E~f Case number nl mount

 

MF Your NCNPRIQRITY Unsecured claims - Contlnuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim

 

 

 

l ii

 

Et _

\%C.‘l’o!l|-v\ 59/€£,€+’ ap mg'd`t+{/

Nonprlorlty Crediloi’s Name

 

Pr:) got (Jacw,?

 

Number S|redi _ _
wyo o lumb*'“§ *\ \9(5"{;61{-);2(3/";1-2_73
Who l ed the debt? Check one.

ij Debtor1 only

n Debtor 2 only

cl Debtor1 and Debtor 2 only

n At least one of the debtors and another

l:.l Check if this aim is for a community debt
subject to oftset?

  

n Yes

m/’hw?l` reel -l/

Nonpriority Credilor's N_§ me

FQ. _é?o)<~ /fc.ol_i

Num'ber

Who incu the debt? Check one.
ebtor 1 only

n Debtor 2 only
n Debtor 1 and Debtor 2 only
n At least one of the debtors and another

n Check if this claim is for a community debt

W subject to offset?
No

n Yes

Nonpriority Credilor's N$ne

_S/‘i§"Oreel Cldtof.@n kla+ec.l~(ilv

Number

ZlP Cl.`.ida

ZlP Code

/’l’l/L. Coooek) Hc~\o /cvl,.rd"

ci’i'i_/»i%»l, hamlan thirdlsz /710 630!7

J.

Last4 digits of account number __ __ _ _ s /)_VOQ' 03

When was the debt incurred? &2 l 2

As of the date you file, the claim ls: Check all that apply.

cntingent
El unliquidated
cl Disputed

Type of NONPR|OR|TY unsecured claim:

El Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

cl Debts to pension or profit-sharing plans, and other similar debts

El other. specify

Last 4 digits of account number ;Q_ éz_ § Z $ ¢2; OOO, 00
When was the debt incurred? gQ f ge

As of the date yo file, the claim is: Check all that apply.
ntingent

n Un|iquidated
a Disputed

Type of NONPR|OR|TY unsecured claim:

a Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

m Debts to pension or profit-sharing plans, and other similar debts
m Other. Specify

Last 4 digits of account number _-_7 l 1 g $MJY

When was the debt incurred? d f Zé£ 59 /f/

 

`_, 5-' 0 / As of the date you Hle, the claim ls: Check all that apply.
b
Cll‘jll " hile ZlP Code cntingent
El unliquidated
w the debt? Check one. g Dtsputed
Debtor 1 only
U Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor 1 and Debtor 2 only cl Studem loans
At mask one of the debtors and another cl Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you did not report as pnonty c|a'ms
n Debts to pension or prolit-sharing plans, and other similar debts
ls the cl subject to offset? |;| Other_ Specify
o
n Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page _ of

Case 18-11330 DOC# 1 Filed 07/10/18 Page 40 of 61

Debtor1 m el KQSOV id ‘ m a 12 e/S Case number (irknown)

Firsl Name Milirllil¢ Nitma Ld'.\| Nririii:

m List Others to Be Notified About a Debt That You Already Listed

 

! 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. |f you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

On which entry in Part1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
Line of (Check one): El Part 1: Creditors with Priority Unsecured Claims
Number 3"°°1 Cl Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number __ _ _
-t]lty _ S_tale ZtP Code ________ _ _
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): El Part 1: Creditors with Priority Unsecured Claims
Number S“e°‘ El Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number _ _ _
City State ZlP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): Cl Part 1: Creditors with Priority Unsecured Claims
Number S"°°‘ El Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number _ _ _
_§Ey _ _ _ State ZlP Code _ _ _ _ _ _ _ _ _
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): |;l Part 1: Creditors with Priority Unsecured Claims
Number 3"°°‘ El Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number _ _ _
City State ZlP Code
On which entry in Part1 or Part 2 did you list the original creditor?
Name
Line of (Check one): El Part 1: Creditors with Priority Unsecured Claims
Number S"e°‘ |;l Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number _ _ _
City State ZlP Code _ __
On which entry in Part1 or Part 2 did you list the original creditor?
Name
Line of (Check one): l;l Part 1: Creditors with Priority Unsecured Claims
Number 3“9°‘ l;l Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number _ __ _ _
____C_ll_y___ __ _ State ZlPCode F_______ __ ____
N On which entry in Part1 or Part 2 did you list the original creditor?
ama
Line of (Check one): l:l Part 1: Creditors with Priority Unsecured Claims
Number Street . . . .
Cl Part 2: Creditors with Nonprlorlty Unsecured
__ _ _ _ _ Claims
Cny State zlP Code Last 4 digits of account number _ _ _

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Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page_ Of ___

Debtor1 7//| @{L-Q'So\ lai I//'/)é'l f as

i-'ir=t Name Middle Name l_ns`l lunle

m Add the Amounts for Each Type of Unsecured Claim

Case number (l‘rllllnwu}_

 

 

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes on|y. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

Total claims
' from Part1

6b.

60.

6d.

6e.

Total claims
from Part 2

6h.

6i.

. Domestic support obligations

Taxes and certain other debts you owe the
government

Claims for death or personal injury while you were
intoxicated

Other. Add all other priority unsecured claims.
Write that amount here.

Total. Add lines 6a through 6d.

. Student loans

. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

Debts to pension or profit-sharing plans, and other
similar debts

Other. Add all other nonpriority unsecured claims.
Write that amount here.

6j. Total. Add lines 6f through 6i.

Official Form 106E/F

6e.

6b.

60.

6d.

69.

6fv

69.

6h.

6i.

ej.

Total claim

 

 

 

 

Total claim

$ Q _

$©
$©

+$ 32;005'/0,0@

 

 

J

 

5 l

 

552 095/l ad

Case 18-11330 DOC# 1 Filed 07/10/18 Page 42 of 61

Schedule E/F: Creditors Who Have Unsecured Claims

page __ of__

Fill in this information to identify your case:

Debtor 7 /H£l~’~&)f% /C ' /{?"7/},¢_'_£')

Flrst£e'rio Middle N.'_l¢nn Last Name

Debtor 2
(Spouse ll ming) First Name Middle Name Lasl Name

 

/
United States Banl<mptcy Court for the: District Of k ct /\U /~}J

 

C b
tl?:fo@:§" e' El Check if this is an
amended filing

 

 

Official Form 1066
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

1. We any executory contracts or unexpired leases?
0. Check this box and file this form with the court with your other schedules You have nothing else to report on this form.

n Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Oflicia| Form 106AlB).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

2.1

 

Name

 

Number Street

 

City State ZlP Code

2.2'

 

Name

 

Number Street

 

City State ZlP Code
2.3

 

Name

 

Number Street

 

city state zlP code
2.4

 

Name

 

Number Street

 

city state zlP Code
2.5

 

Name

 

Number Street

 

Clty State Z|P Code

Case 18-11330 DOC# 1 Filed 07/10/18 Page 43 of 61

Official Form 1066 Schedule G: Executory Contracts and Unexpired Leases page 1 of_

Debtor1 Case number ¢rrtnowni
Flrsl Name Middle Name Last Name

- Additional Page if You Have More Contracts or Leases

Person or company with whom you have the contract or lease What the contract or lease is for

'22}

 

Name

 

Number Street

 

City State Z|P Code

Name

 

 

 

Number Street

 

Clty State ZlP Code

§ __

Name

 

 

Number Street

 

State Z|P Code

City
y

Name

 

 

Number Street

 

Clty State ZlP Code

n__ ______

Name

 

 

 

' Number Street

 

City State ZlP Code

 

l Name

 

Number Street

 

City State ZlP Code

 

Name

 

Number Street

 

City State ZlP Code

 

Name

 

Number Street

 

Clty State ZlP Code

Case 18-11330 DOC# 1 Filed 07/10/18 Page 44 of 61

Official Form 106C-3 Schedule G: Executory Contracts and Unexpired Leases page__ of _

Fill in this information to identify your case:

Debtor 1

Debtor 2

/'I?-.t,ft".j

Flrs| llliiiiie M|di:l|n Marrm Locit tilarliu

 

(Spouse, if f`l|ing) F|rsl Name Middle Name Last Name

United States Bankruptcy Court for the: District Of ida nl § ;}J`

Case number
(ll known)

 

 

 

Official Form 106H

 

Schedule H: Your Codebtors

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. |f two married people
are filing together, both are equally responsible for supplying correct information. lf more space is needed, copy the Additional Page, fill it out,

and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

1. Wodebtors? (|f you are filing a joint case. do not list either spouse as a codebtor.)
No

El Yes

El check if this is en
amended filing

12/15

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, Ca|ifornia, |daho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

El No. Go to line 3.
l;l Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

l;lNo

n Yes. |n which community state or territory did you live?

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

city

State ZTP Code

. Fill in the name and current address of that person.

3. ln Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on l
Schedule D (Officia| Form 1060), Schedule E/F (Officia| Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Column 1: Your codebtor

 

 

 

 

 

 

 

 

 

 

 

 

3.1
Name
Number Street
_ City State ZlP Code
| 32 t
Name
Number Street
city state zlP code
p3 y
Name
Number Street
Cily State ZlP Code

 

Official Form 106H

Case 18-11330 DOC# 1 Filed 07/10/18
Schedule H: Your Codebtors

Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

El Schedule D, line
U schedule E/F, line
l:l Schedule G, line

Schedule D, line _
Schedule E/Fl line
Schedule G, line

UII|U

El Schedule D, line
l:l Schedule E/F, line
n Schedule G, line

Page 45 of 61

page 1 of _

Debtor 1

 

Flral Name Middle Name

LBS[ Name

- Additional Page to List More Codebtors

Case number trtltno~wl)

 

Column 1: Your codebtor

Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

El schedule D, line

 

Cl Schedule E/F, line

 

Name
Number Street

El Schedule G, line _

 

h
tm

_ Sl:-t§

ZTP Code

Schedule D, line _

 

Name

Schedule E/F, line

 

Number Street

UUU

Schedule G, line _

 

E!l¥__ _

|'|_:]

Stan

ZlP Code

Schedule D, line

 

Name

Schedule E/F, llne

 

Number Street

UE|U

Schedule G, line _

 

Clty

State

ZlP CDUG

 

tit

Name

 

Schedule Dl line _
Schedule E/F, llne _

UUE|

 

Number Street

Schedule G. llne _

 

Clty

§ ___

State

ZlP Code

Schedule D, line _

 

Name

Schedule E/F, line

Ul:llj

 

Number Street

Schedule G, line _

 

city

Slate

Z|F' Code

Schedule D, line

 

Name

Schedule E/F, line

 

Number Street

UUU

Schedule G, line _

 

city

alive

ZlP Code

Schedule D. line _

 

Name

Schedule E/F, line

 

Number Street

E|UU

Schedule G, line _

 

Clty

Slate

ZlP Codo'

 

Name

Schedule Dl line _

 

Number Street

 

Ci_=ll

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Official Form 106H

5_'_31[?'_ _

_ ztii_tio'da

Schedule H: Your Codebtors

|;l
El Schedule E/F, line
El Schedule G, line

page _ of _

 

Fill in this information to identify your case:

Debtor1 7_/)£', ;’, L". § ¢L, jt . //y?a¢£ 5

 

 

 

 

 

 

Firsli\iumu Nlluiliu Nuinu Lobi Nnmn
Debtor 2
(SpCUSe, if filing) Firsl Name Middle Name Lasi Name
United States Bankruptcy Court for the: District Of 4 a A)j/}J
Case number Check if this iSZ
(if known)
l;l An amended filing
|;l A supplement showing postpetition chapter 13
income as of the following date:
OffiCial FOi`m 106| m
Schedule l: Your lncome 12/15

 

Be as complete and accurate as possible. lf two married people are t”i|ing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. if you are married and not filing joint|y, and your spouse is living with you, include information about your spouse.
if you are separated and your spouse is not filing with you, do not include information about your spouse. if more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

m Describe Empioyment

1. Fill in your employment

 

 

 

information Debtor1 Debtor 2 or non-filing spouse
if you have more than one job,
attach a separate page with
information about additional Empioyment status Upioyed m Empioyed
employers El Not employed n Not employed
include part-time, seasonai, or
self-employed work. ¢ ` ‘7" m 1 d
_ _ Cocupation -’>Hu|#- CW Q" L[\Ua"" .
Occupation may include student d

or homemakerl if it applies.

Employer’s name K/J§j!'ir'f{\, RCQQUW CQ{\H("PL
Employer’s address {)7, ti (A/ /'i’l /~}C

Number Street 0 Number Street

 

 

widn+c~ Ls 676!'3

City State ZlP Code City State ZlP Code

How long employed there? /oz v g !
m Give Details About Month|y lncome

Estimate monthly income as of the date you file this form. if you have nothing to report for any linel write $0 in the space, include your non-filing
spouse unless you are separated

if you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines

beiow. if you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

 

2. List monthly gross wages, saiary, and commissions (before ali payroll
deductions). if not paid monthiy, calculate What the monthly Wage Wou|d be. 2. $ /633, 00 $

3. Estimate and list monthly overtime pay. 3- + $ f 2 + $

4. Ca|cu|ate gross income. Add line 2 + line 3 4. $ l b&g gw $

 

 

 

 

 

 

Case 18-11330 Doc# 1 Filed 07/10/18 Page 47 of 61
Official Form 106| Schedule |: Your income page 1

Debtor1 _77*3 /f-EL:| h h . ‘ ; q/;e- d Case number (irknewn)

l-'im! Name Middle Nemil l.:lsl Nnrnq

 

 

 

 

 

For Debtor 1 For Debtor 2 or
non-filing spouse
copy line 4 here ............................................................................................... -) 4. $ M; 513100 $
5. List all payroll deductions:
. . . . o,} 6 `
5a. Tax, Medlcare, and Soclal Security deductions 5a. $ of ' $
5b. Mandatory contributions for retirement plans 5b. $ Q $
5c. Voluntary contributions for retirement plans 5c. $ 0 5
5d. Required repayments of retirement fund loans 5d. $ 0 $
5e. insurance 5e. $ Q $
5f. Domestic support obligations 5f. $ a $
59. Union dues 5g. $_-_-Q_ $
5h. Other deductions. Specify: 5h. + $ Q + $
6. Add the payroll deductions. Add lines 5a + 5b + 50 + 5d + 5e +5f + 59 + 5h. 6. $ LQ/ ;1[¢ 7 $
7. Ca|cu|ate total monthly take-home pay. Subtract line 6 from line 4. 7. $ /)/O f 557 $
8_ List all other income regularly received:
8a. Net income from rental property and from operating a business, l
profession, or farm l
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ ij $

monthly net income. 8a.

8b. interest and dividends 8b. $ :1 il $ l

80. Fami|y support payments that you, a non-filing spouse, or a dependent l
regularly receive '
include alimony, spousal support, child supportl maintenance, divorce
settlement, and property settlement. 80.

$
8d. Unemployment compensation 8d. $ $
8e. Social Security 8e. $ $

8f. Other government assistance that you regularly receive
include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benehts under the Supplemental
Nutrition Assistance Program) or housing subsidies.

 

 

 

 

 

 

 

 

 

 

 

 

Specify: 8f_ $ 9 $

8g. Pension or retirement income 89. $ 0 $

8h Other monthly income. Specify: 8h. + $ 0 + $

9. Add all other income. Add lines 8a + 8b + 80 + 8d + 8e + 8f +89 + 8h. 9. $ _£) $
10. Ca|cu|ate monthly income. Add line 7 + line 9. _ 1 6 ,-
Add the entries in line 10 for Debtor1 and center 2 or non-filing spouse. 10 $l-ll__©q'f? "` $_U_ ' }$ ’5*»

 

 

11 State ali other regular contributions to the expenses that you list in Schedule J.

include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J,

Specify: 11.+ $ §§ 1

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of YourAssets and Liabl'/l'tl'es and Certal'n Siatl'stical /nformation, if it applies 12. $_L)Lm@ '

 

Combined
monthly income

13 Do you expect an increase or decrease within the year after you file this form?
No.
m Yes Explain:

 

 

 

 

Case 18-11330 Doc# 1 Filed 07/10/18 Page 48 of 61
Official Form 106| Schedule |: Your income page 2

Fill in this information to identify your case:

Debtor1 TAF.£€` ve- L ' /77"'7“’3~£ 5 check ifihis is:

 

 

 

 

F\iu| Hnmo Middle Name L:l:i N:mlli
Debtor 2 ~
(Spousel if filing) FirsiName Middle Name LaslName n An amended fnan
_ _ n A supplement showing postpetition chapter 13
United States Bankruptcy Court for the: DlStfle Of lr§¢§\ gi § 45 expenses as Of the following daie:
Case number MM / DD/ YyYy
(if known)

 

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. |f two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

m Describe Your Household

 

 

 

1. lsmt’hyint case?
o. Go to line 2.

n Yes. Does Debtor 2 live in a separate household?

 

 

 

 

 

 

l;l No
l;l Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2_
2. Do ou have de endents?
y p M Dependent's relationship to Dependent's Does dependent live
DO not |iSf Debel’ 1 and n Yes. Fill out this information for Debtor1 °r Debf°r 2 a99 Wifh you?
Dethl' 2. each dependent.___...,..,._..,..,.._.._. n
Do not state the dependents' m No
names. Yes
cl No
n Yes
\;l No
l:l Yes
l:l No
i:l Yes
El No
|:l Yes
3. Do your expenses include M

expenses of people other than
yourself and your dependents? n Yes

m Estimate Your ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of the form and f“ll| in the
applicable date.

include expenses paid for with non-cash government assistance if you know the value of

such assistance and have included it on Schedule l: Yourlncome (Officia| Form 106|.) YOuI` expenses
4. The rental or home ownership expenses for your residence. include first mortgage payments and
any rent for the ground or lot. 4_ $ 5001 00

if not included in line 4:

4a. Real estate taxes 4a. $ t 2
4b. Property, homeowner's, or renter’s insurance 4b. $ § 2

4c. Home maintenancel repair, and upkeep expenses 4c_ $ i' r“ , "]’

4d. Homeowner's association or condominium dues 4d. $ § )
Case 18-11330Sc Doc# 1Y Filed 07/10/18 Page 49 of 61

Official Form 106J heduie J: our Expenses page 1

Debtor 1 Case number winnieni
|"|rl'il i'-iiorrlu Middle Name Losl Nilrl$
5. Additional mortgage payments for your residence, such as home equity loans 5.
6. Uti|ities:
6e. Electricity, heat, natural gas 6e.
6b. Water, sewer, garbage collection 6b.
6e. Telephonel cell phone, internet, satellite, and cable services 60.
6d. Other. Specify: 6d.

7. Food and housekeeping supplies 7.

8. Childcare and children's education costs 8.

9. C|othing, iaundry, and dry cleaning 9.
10. Personal care products and services 10.
11. Medica| and dental expenses 11.
12. Transportation. include gas, maintenance, bus or train fare.

Do not include car payments, 12.
13. Entertainment, clubs, recreation, newspapers, magazines, and books 13.
14. Charitab|e contributions and religious donations 14.
15. lnsurance.

Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance 15a.

15b. Heaith insurance 15b.

15c. Vehicle insurance 15c.

15d. Other insurance. Specify: 15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

Specify: 16.
17. installment or lease payments:

17a. Car payments for Vehicle 1 17a.

17b. Car payments for Vehicle 2 17b.

17c. Other. Specify: 17c.

17d. Other. Specify: 17d.
18. Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule I, Your lncome (Official Form 106|). 18.
19. Other payments you make to support others who do not live with you.

Specify: 19_
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Yourlncome.

Official Form 106J

776/cme few /7’?4/€, c -i

 

 

 

 

 

 

 

20a Mortgages on other property

20b. Real estate taxes

200. Property, homeowner’s, or renter’s insurance
20d. iviaintenance, repair, and upkeep expenses

209. Homeowner's association or condominium dues

Case 18-11330 DOC# 1 Filed 07/10/18

Schedule J: Your Expenses

 

20a.
20b,
20c.
20d.

20e.

Page 50 of 61

Your expenses

$ 12

$_M
$ 400. OQ

s ; _ 2

ii 52

$ ¢5'*0. 00

s ,Q

$ o2_/).0 0

ss 3 :Q ,QO

s 5“0¢ 00

$ /OQ,.!?O

5 l;Qc>,oo
$ [0.0Q

$ §§
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$ t)

$ 62

$ 0
is .Q
$ g
s ¢2 _

$ Q

$ 152 _

$_L_
$ 0
$ 52
$ ,Q
$ .£ ____

page 2

.--"'""'- , _
Debtor1 / /10 tap 56\' /L ‘ h/F a Ae- 1 Case number (iilinnwni

Fit!li home M\d\Jil Home Llilsl Name

21. Other.Specify: 21 +$ O

 

22. Ca|cu|ate your monthly expenses.

22a. Add llnes4 through 21. 22a. $ f ga § O _ 00

22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22b. 5 Q

220. Add line 223 and 22b. The result is your monthly expenses. 22a. $ / b 30 l 0 O

23. Ca|cu|ate your monthly net income.
23a zee $ 0 7 f 7

Copy line 12 (your combined monthly income) from Schedule l.

 

23b. Copy your monthly expenses from line 22c above. 23b. _ 5 / (¢_') 30 10 0
230. Subtract our monthl ex enses from our monthl income.
y' y P ' y y $ _<"2£0, ;£/_§
The result ls your monthly net income. 23c. -_-_--_

 

 

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

Ei»no./

n YeS- Explain here:

Official Form 106J Case 18'113303¢@&%#1:]¥01"|: él$QnQe;/ 10/ 18 Page 51 Of 61 page 3

Fill in this information to identify your case:

Debtor1 7%/£{€1-1'4»' /C - /);4. fare J`

Fwel Narr\u Mlddle Name L_:mt Name

Debtor 2
(SpOuSe. if filing) First Name Middle Name Last Name

United States Bankmptcy Court for the: District Of g N :/9~1`

Case number
(if known)

 

 

Ei check if this is an
amended filing

 

 

Official Form 106Dec
Declaration About an lndividual Debtor’s Schedules 12/15

 

if two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing propertyl or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pa agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?
No

n Yes. Name of person . Attach Bankruptcy Petitl'on Preparer’s Noi/`ce, Dec/aration, and
Signature (Ofncial Form 119).

Under penalty of perjury, | declare that l have read the summary and schedules filed with this declaration and
that they are true and correct.

X mw }/L¢w-~' X

 

 

Sigi'la€re of Debtor 1 Signature of Debtor 2
Date 122 f 0 E_O}g Date
MM/ no / YYYY MM/ DD / YYYY

official Form ioenee Case 18-1133@|3ram(§'"50'1,.t arHii£ddQJ/de©{g,& SCP@Q& 52 Of 61

Fill in this information to identify your case:

--"” ' _
Debtor1 /AQ'/;Lg 5 F\ f _ . /’!7{»` A’_.¢: J

 

 

 

 

Fl¢=i name i.iinuie name win mine
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: District of 12 q /\/ 514 ~\`
Case number n CheCk if this is an
‘"k“°‘”"l amended filing

 

Official Form 1068um
Summary of Your Assets and Liabi|ities and Certain Statistical information 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. if you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 

Summarize Your Assets

Your assets '
Value of what you own

1. Schedule A/B: Property (Official Form 106AlB)
1a. Copy line 55, Total real estate, from Schedule A/B .......................................................................................................... $ -U-T$o-O-Q'-LD
|
l
' 1b. Copy line 62, Total personal property, from Schedule A/B $ 50i0 - 00

 

 

 

 

l

|

i 1c.Copyiine 63,Tota|ofali property on ScheduleA/B $ ii SOio ‘ 00
l

m Summarize Your Liabi|ities

 

Your liabilities
Amount you owe

2. Schedule D.' Creditors Who Have Claims Secured by Property (Official Form 106D)
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............ $ L

3. Schedule E/F.' Creditors Who Have Unsecured Claims (Official Form 106E/F) Q
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F_,.,..,......... $

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6i of Schedule E/F ....................................... + $ §§ <Kj` 2 y 61

Yourtotal liabilities ii .SQ'Z: cf Y? i,gé?

 

 

 

 

m Summarize Your income and Expenses
4. Schedu/e /.' Yourlncome (Official Form 106|)
$ LiO , §7

Copy your combined monthly income from line 12 of Schedule /. ._ .................................................................................

5 Schedule J.' Your Expenses (Official Form 106J)
Copy your monthly expenses from line 220 of Schedule J ................................................................................................... $ _

OiOiJ

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Official Form 1068um Summary of Your Assets and Liabi|ities and Certain Statistlcal information page 1 of 2

_../ -
Debtor1 / A -E.{'E(" § N k- ' fdin 13 {" .§ Case number tamm

Fil":ii l~|rll`rm M.|EECEE Nilrrrr:r Last anT\-B

m Answer These Questions for Administrative and Statistica| Records

 

l
6. Are you filing for bankruptcy under Chapters 7,11, or13?

n No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

Eil»\@"

l
` 7. What kind of debt do you have?

n Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
fami|y, or household purpose." 11 U.S.C. § 101(8). Fi|| out lines 8-99 for statistical purposes. 28 U.S.C. § 159.

m our debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.

 

|
l
i.

8. From the Statement of Vour Current Monthly Income: Copy your total current monthly income from Official
Form 122A-1 Line 11; OR, Form 122B Line 11; ORl Form 1220-1 Line 14. $ d §§ 23 ,{)D

 

 

 

l 9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

Total claim
From Part 4 on Schedule E/F, copy the following:
9e. Domesticl support obligations (Copy line 6a.) $ 0
l
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $L
90. Claims for death or personal injury while you were intoxicated (Copy line Sc.) 5 0
9d. Student loans. (Copy line 6f.) $L
9e. Obligations arising out of a separation agreement or divorce that you did not report as $ 52

priority claims. (Copy line 6g.)

9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) + $ .f 2
99. Total. Add lines 9a through 9f. 5 g 2

 

 

 

 

3 DOC# 1 .nFé`|€d O7|/|]r_`Q/r%`§ti°npage 54 Of 61

8-113
Official Form 1068um Summary of go§r`rs§ss|`ets and Lra i|ities and Certar tatrstica o page 2 of 2

Fill in this information to identify your case:

Debtor1 "l€/ir',$ *’\ L m UL &lf

Flrsl Noili':i Middle Nl.im:r Lasi Nilma

 

Debtor 2
(Spouse, if filing) First Name Middle Name Lasi Name

United States Bankruptcy Court for the: District of Q Nf/)'J`

Case number n Check lf this iS an
(iri<nown) amended filing

 

 

 

 

Official Form 108
Statement of intention for individuals Filing Under Chapter 7 12/15

 

if you are an individual filing under chapter 7, you must till out this form if:

l creditors have claims secured by your property, or

l you have leased personal property and the lease has not expired.

You must tile this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditorsl
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
if two married people a're filing together in a joint case, both are equally responsible for supplying correct information.

Both debtors must sign and date the form.

Be as complete and accurate as possible. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

m List Your Creditors Who Have Secured Claims

 

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 1060), till in the
information below.

.\

identify the creditor and the property that ls collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?
Creditor‘s m/Z C // /061/`/5 Under the property. m'No/
name: , Q@ /
" Q'QF"‘ "" ’ aimed "" l:l Retain the property and redeem it. ., l:l Yer'§
Descrlption of ~ . . '
fo ed 501 ‘ ///J‘ El Retain the property and enter into a
p p y / (p __ f 5 Reaffirmation Agreement.

securing debt:

WL C A ‘ .+,`, ky c 72//'/ n Retain the property and [explain]:
) l

Creditor’s Cl Surrender the property. n NO
name:

 

n Retain the property and redeem it. EI Yes
Description of
property
securing debt:

l:l Retain the property and enter into a
Reaffirmation Agreement.

n Retain the property and [explain]:

 

Creditors El Surrender the property. n No
name:
l:l Retain the property and redeem it Cl Yes

Description of
property
securing debt:

n Retain the property and enter into a
Reaffr'rmati`ori Agreement.

n Retain the property and [explain]

 

Creditors n Surrender the property. m No
name:
m Retain the property and redeem it. El Yes

Description of
property
securing debt:

n Retain the property and enter into a
Reaffirmation Agreement

n Retain the property and [explain]:

CaSe 18-11330 DOC#J_ FH'€U'O?TTOTTS_PHQE_§W€I_

Official Form 108 Statement of intention for individuals Filing Under Chapter 7 page 1

 

Debtor1 l 519 \"L`,‘-`~{‘\_ 14 [W"r;r\ \" c‘-~, Case number (lfrmnrvn}

Flr§i Nii'mu Middle Namo i_ust`lli:in

 

m List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 

 

 

 

 

 

 

 

Describe your unexpired personal property leases Wi|| the lease be assumed?

Lessor's name: l:| No
El Yes

Description of leased

property:

Lessor's name: [] NO
l:l Yes

Description of leased

property:

Lessor's name: E| NO

Description of leased n Yes

property:

Lessor's name: |;| NO
El Yes

Description of leased

property:

Lessor's name: |;| NO
n Yes

Description of leased

property:

Lessor's name: E| No
n Yes

Description of leased

property:

Lessor's name: n No
m Yes

Description of leased
property:

 

Under penalty of perjury, | declare that l have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.

X

S nature of Debtor 1 Signature of Deblor 2

Date|l:m'-)l 10 §§Of${` Date
il nn l YYYY Mrvi/ DD/ YYYY

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Official Form 108 Statement of intention for individuals Filing Under Chapter 7 page 2

 

 

 

Fill in this information to identify your case:

Debtor1 n CL¢JF\'

 

First Nar_rie

Debtor 2

/(_ h/M M_, Form122A-1supp:

Middle Name i.asil Name

 

where is no presumption of abuse.

Check one box only as directed in this form and in

 

(Spouse. if"ling) FirslName Middle Name LaslName n 2. The calculation to determine if a presumption of
abuse applies will be made under Chapter 7
United States Bankruptcy Court for the: District Of g A/JA’J` Means Test Ca/culation (Official Form 122A-2)_

Case number

n 3. The Means Test does not apply now because of

 

(if known)

qualified military service but it could apply later.

 

 

n Check if this is an amended Hling

Official Form 122A-1

 

Chapter 7 Statement of Your Current Monthly income

Be as complete and accurate as possible. if two married people are H|ing together, both are equally responsible for being accurate. if more
space is needed, attach a separate sheet to this form. include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). if you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under§ 707(b)(2) (Official Form 122A-1Supp) with this form.

m Ca|cu|ate Your Current Monthly income

12/15

 

lD'NB°t married. Fiii our coiu

f. What is your marital and filing status? Check one only.

mn A, lines 2-11.

a Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
n Married and your spouse is NOT filing with you. You and your spouse are:
n Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

El Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your

 

Official Form 122A-1

spouse are living apart for reasons that do not include evading the Means Test requirements 11 U.S.C. § 707(b)(7)(B).

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September15, the 6-month period would be March 1 through
August 31. lf the amount of your monthly income varied during the 6 monthsl add the income for all 6 months and divide the total by 6.
Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
income from that property in one column only. if you have nothing to report for any linel write $0 in the space.

. Your gross wages, salary, tips, bonusesl overtime, and commissions
(before all payroll deductions).

. Alimony and maintenance payments. Do not include payments from a spouse if
Column B is filled in.

. A|i amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support, include regular contributions
from an unmarried partner, members of your household, your dependents, parents,
and roommates. include regular contributions from a spouse only if Column B is not
filled in. Do not include payments you listed on line 3.

. Net income from operating a business, profession, cwth Debtor 2

or farm
Gross receipts (before all deductions) $__Q_ $__
Ordinary and necessary operating expenses - $ 0 - $
. . . ry Copy
Net monthly income from a business, profession, or farm 5 $ here
. Net income from rental and other real property Debtor1 Debtor 2
Gross receipts (before all deductions) $ 0 $
Ordinary and necessary operating expenses - $ g - $
Net monthly income from rental or other real property $ 0 $ ::;y

interest, dividends, and royalties

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

$_ljo?\_~’>~@o $___
$ Q $

$ LF)' s

$Q $____

 

$'O_
$ §Q

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Chapter 7 Statement of Your Current Monthly income page 1

Debtor 1 We file § t\~.. é-| /7? ct lay l Case number (r/)<nown)

 

 

. ’Leel. ¢'i.i_='.' .s hi'..l ll,Name . ;_-i‘ .\'..'iiii'.
Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
8. Unemployment compensation $ o $
Do not enter the amount if you contend that the amount received was a benefit
under the Social Security Act. insteadl list it here: ...............................
For you .................................................................................. $
For your spouse ................................................................... $
9. Pension or retirement income. Do not include any amount received that was a
benefit under the Social Security Act. $ t 0 $

 

10. income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act or payments received
as a victim of a war crime, a crime against humanityl or international or domestic
terrorism. if necessary, list other sources on a separate page and put the total below.

$_CL__ $_
$ r;l t

Total amounts from separate pages, if any. + $ 0 + $

 

 

 

11. Ca|cu|ate your total current monthly income. Add lines 2 through 10 for each

column. Then add the total for Column A to the total for Column B. $ liga§,[)c + 5 C f = $/W.J 0

Total current
monthly income

 

 

 

 

 

 

 

 

Determine Whether the Means Test Applies to You

 

 

12. Ca|cu|ate your current monthly income for the year. Follow these steps:

12a. Copy yourtotal current monthly income from line 11, Copyllne 11 here') | $ /Q 513 ~QO l

Multip|y by 12 (the number of months in a year). X 12
12b. The result is your annual income for this part of the form. 12b. m 1 '

13. Ca|cu|ate the median family income that applies to you. Fo|low these steps:

l Fill in the state in which you live. _K a A) S:A_ _\` j

l Fill in the number of people in your househo|d. / _`

 

 

 

 

|
Fill in the median family income for your state and size of household, ... 13. $ 52 Q§E

To find a list of applicable median income amounts, go on|ine using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk' s office

 

14. How do the lines compare?

14a mw is less than or equal to line 13. On the top of page 1l check box 1, There is no presumption ofabuse.
Go to Part 3.

14b. n Line 12b is more than line 13. On the top of page 1, check box 2, The presumption ofabuse is determined by Form 122A-2.
Go to Part 3 and fill out Form 122A-2.

 

By signing here, l declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

X/OM&))€~§LMJ X

 

 

Signature of Debtor1 Signature of Debtor 2
Date 63 16 ZC"/< Date
MM/DD /YYYY MM/DD /YYYY

if you checked line 14a, do NOT fill out orfile Form 122A-2
lf you checked line 14bl f`ill out Form 122A-2 and file it with this form

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Official Form 122A-1 Chapter 7 Statement of Your Current Monthly income page 2

 

UN|TED STATES BANKRUPTCY COURT
D|STR|CT OF KANSAS

|N RE:

://:Z€¢€J”\- /{: /77€(/€.€$ CaseNo.

 

Debtor(s)

VER|F|CAT|ON OF CRED|TOR MATRIX

The above-named Debtor(s) hereby verify that the attached list of creditors is

true and correct to the best of her/his/their knowledge.

Dated: 7[ lt"=) l §§ (SM'U LAO'V"'"

Debtor

 

Joint Debtor

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Best Buy Credit Card
P.O. Box 790441
St. Louis, Mo 63179-0441

Citi Bank Preferred
P.O. Box 6500
Sioux Falls, SD 57117

Discovery Card
P.O. Box 30943
Sait Lake City, UT 84130-0943

Medi Credit
P.o. Box 1629
Maryland Heights, Mo 63017

Mr. Cooper Home Loans
8950 Cypress Waters Blvd.
Coppell, TX 75019

Sears Master Card
P.O. Box 6275
Sioux Falls, SD 57117

Victoria Secret Comenity

P.O. Box 182273
Columbus, OH 43218-2273

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Target Red Card
P.O. Box 660170
Dallas, TX 75266-0170

Walmart Ma.ster Card

1625 North Market Blvd.
Sacramento, CA 95834

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